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adb        Eastern Livestock Co., LLC            135 W. Market Street           New Albany, IN 47150
ptcrd      David L. Rings         1288 Frontage Road             Russell Springs, KY 42642
ptcrd      Southeast Livestock Exchange LLC              PO Box 1306            Waynesville, NC 28786
ptcrd      Moseley Cattle Auction, LLC            1044 Arlington Avenue             Blakely, GA 39823
op         Elizabeth M. Lynch           Development Specialists, Inc.           6375 Riverside Drive         Suite 200        Dublin,
           OH 43017
cr         First Bank and Trust Company, The              c/o Ayres Carr &Sullivan, P.C.          251 East Ohio Street, Suite
           500        Indianapolis, IN 46204−2184
cr         Republic Bank and Trust Company               661 South Hurstbourne Parkway             Louisville, KY 40222
cr         Gary S. Bell        PO Box 122           Edmonton, KY 42129
op         National Cattlemen's Beef Association             c/o Alice Devine         6031 SW 37th St.          Topeka, KA 66610
ptcrd      Southland Haulers, LLC            Howard &Myra Compton                P O Box 142         Bratley, AL 36009
ptcrd      Ike's Trucking, Inc.        Ike and Cherie Jacobs           3087 Ervin Town Rd.           Castlewood, VA 24224
ptcrd      Breeding Brothers          Attn: Wade Breeding            9440 Columbia Hwy.            Greensburg, KY 42743
ptcrd      BBFarms          Attn: Keith Breeding            8090 Greensburg Road            Greensburg, KY 42743
ptcrd      Jeremy Coffey          6205 Greensburg Road              Columbia, KY 42728
ptcrd      Brent Keith        505 Marlo−Campbell Road                Columbia, KY 42728
ptcrd      Dennis Neat         6198 Burkesville Road             Columbia, KY 42728
ptcrd      Billy Neat        705 B. Neat Road           Columbia, KY 42728
ptcrd      Jimmy Brummett            7594 Hwy. 555            Glens Fork, KY 42741
ptcrd      Mike Loy         668 P.D. Pyles Road             Columbia, KY 42728
ptcrd      Superior Livestock Auction, Inc.           1155 North Colorado Ave.             Bush, CO 80723
ptcrd      Gary S. Bell        P.O. Box 122           Edmonton, KY 42129
op         David L. Abt         210 N Main St           PO Box 128           Westby, WI 54667
cr         Eddie Eicke        Eicke Ranch II           1188 County Rd 1202            Snyder, TX 79549
cr         Heritage Feeders LP           c/o Crowe &Dunlevy            20 North Broadway           Suite 1800        Oklahoma City, ok
           73102
cr         Bobby Bynum            P. O. Box 43         Rankin, TX 79778 UNITED STATES
cr         Bill Davis       7726 W. FM 2335              Christoval, TX 76935 UNITED STATES
cr         Johnny Mayo, Jr.          P. O. Box 317           Eldorado, TX 76936 UNITED STATES
cr         Frank Powell         700 W. Denger            Midland, TX 79705 UNITED STATES
cr         Davis Quarter Horse           7726 W. FM 2335             Christoval, TX 76935 UNITED STATES
cr         Tom Svoboda           3065 AA Avenue              Herrington, KS 67449 UNITED STATES
cr         Bynum Ranch Co.            P. O. Box 104           Sterling City, TX 76951 UNITED STATES
cr         Florida Association Livestock Markets             P.O. Box 421929           Kissimmee, FL 34742−1929
cr         Gene Shipman           11401 E. Fm 1075             Happy, TX 79042
cr         Gabriel Moreno          c/o Todd J. Johnston           McWhorter, Cobb &Johnson              1722 Broadway          Lubbock,
           TX 79401
cr         Gabriel Moreno          c/o Timothy T. Pridmore             McWhorter, Cobb &Johnson             1722
           Broadway          Lubbock, TX 79401
cr         Estate of John S. Gibson, Anna Gayle Gibson, Execu               13140 Nebo Rd           Providence, KY 42450
cr         Gibson Farms. LLC            13140 Nebo Rd.            Providence, KY 42450
cr         Bovine Medical Associates, LLC             1500 Soper Road            Carlisle, KY 40311
cr         Phillip Taylor Reed          a/k/a Taylor Reed
op         Greenebaum Doll &McDonald PLLC                    3500 National City Tower           101 South Fifth Street      ?Louisville,
           KY 40202−3103
10483524   2 Z Cattle Co.        4460 Pulaski Hwy             Culleoka, TN 38451
10482920   24 Trading Co., LLC            PO Box 1530           Canutillo, TX 79835
10483525   3 B Farms         709 N. Pratt         P.O. Box 6          Yates Center, KS 66783
10482921   3 B Farms, LLC           709 N. Pratt St., PO Box 6          Yates Center, KS 66783
10483526   4 Legs Down LLC            10418 N. 300 E.            Morristown, IN 46161
10483527   A &B Cattle &Farm Inc             PO Box 5          Thaxton, MS 38871
10483551   A T &T         PO Box 105262             Atlanta, GA 30348−5262
10482923   A T &T         PO Box 105262             Br 15 − Lexington           Atlanta, GA 30348
10482924   A T &T         PO Box 105503             Br 02 − Marion           Atlanta, GA 30348
10483528   A T &T         PO Box 8100            Aurora, IL 60507−8100
10483366   AMOS KROPF              6987 HWY 278 WEST                 OZAN, AR 71855
10483368   ATS FARM            1454 E MOSLEY LANE                  SPRINGFIELD, MO 65803
10483529   Acosta Trucking          PO Box 503           Alliance, NE 69301
10483530   Adair Progress, Inc         98 Grant Lane           P.O. Box 595         Columbia, KY 42728
10483531   Adams Farm           3657 Temple Hill Rd             Summer Shade, KY 42166
10482925   Airespring        PO Box 7420            Van Nuys, CA 91409
10483532   Airespring/Globalfibernet           P.O. Box 7420          Van Nuys, CA 91409−7420
10482926   Alabama Livestock Auction, Inc.            PO Box 279           Uniontown, AL 36786
10482927   Alfred Keeton Cooper            1397 Upper Hilham Rd.            Livingston, TN 38570
10482928   Allen B. Brown          248 A.B. Brown Rd.             Cave City, KY 42127
10483534   Allen B. Brown          248 Brown Rd            Cave City, KY 42127
10483535   Allen Dietrich        Farmers Bank Of Carnegie              RR 2 Box 416           Carnegie, OK 73015−1066
10483536   Allen Edwards          1950 Owens Ln             Corydon, IN 47112
10482929   Allen Miller        701 Falling Springs Hollow             Horse Caves, KY 42749
10483537   Alton Darnell         480 Blevins Hollow Rd             Piney Creek, NC 28663
10482930   Alvin Barbee         9730 Brownsville Rd.             Park City, KY 42160
10483538   American Express           P.O. Box 650448            Dallas, TX 75265−0448
10488847   American Express Travel Related Services Co Inc               Corp Card          c/o Becket and Lee LLP        POB
           3001        Malvern PA 19355−0701
10482931   American International Services Corp.             1010 S 9th Street        Louisville, KY 40203
10482932   American Rock           131 Industrial Park Dr. Suite 3          c/o Dane Braden          Hollister, MO 65672
10483539   American Rock LLC              131 Industrial Park, Suite 3        Hollister, MO 65672
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10482933   Andrew Beau Tabor            166 Edgar Ford Rd.          Summer Shade, KY 42166
10483540   Andrew Sturdivant           740 Coles Bend Rd          Smiths Grove, KY 42171
10483541   Andy Wilson         2415 Byrdstown Hwy              Monroe, TN 38573
10482934   Angie Honaker          1186 Leatherwood Rd.            Tompkinsville, KY 42167
10483542   Animal Clinic        Steve Young, DVM              PO Box 781          Morganfield, KY 42437
10483543   Animal Clinic Of Diamond            20160 Hwy J           Diamond, MO 64840
10483544   Animal House Vet Clinic           Dr. Jon Holloman           712 W. Main         Providence, KY 42450
10483545   Anthony Leath          3916 Thaxton Rd           Thaxton, MS 38871−9797
10482935   Arab Livestock Market Inc.          PO Box 178           c/o Robbie Gibbs         Arab, AL 35016
10483546   Arab Livestock Market,Inc           P. O. Box 178         Arab, AL 35016
10483547   Arcadia Stockyard          P.O. Drawer 1418          Arcadia, FL 34265
10483548   Arnold Farms         9845 Weatherly Rd            Lascassas, TN 37085
10482936   Arnold Farms         9845 Weatherly Rd.           c/o Howard B. Arnold           Lascassas, TN 37085
10482937   Arthur Andrew Sturdivant           740 Coles Bend Rd.           Smiths Grove, KY 42171
10482938   Arthur Lowhorn          3160 Letterhead Oak Road            Albany, KY 42602
10483549   Arthur Lowhorn          Rt 2        Albany, KY 42602
10482939   Ash Flat Livestock Auction, Inc.          PO Box 308          Ash Flat, AR 72513
10482941   Athens Stockyard, LLC           c/o Thomas E Ray           130 Jordan Dr         Chattanooga, TN 37421
10482942   Avalon Russell         2727 Poplar Springs Rd.           Glasgow, KY 42141
10482943   Avaya        14400 Hertz Quail Spring Pkwy             Oklahoma City, OK 73134
10483553   Avery Matney          3673 Iron Mountain Rd            Center, KY 42214
10483369   B &F CATTLE CO               RT.1 BOX 136           RICHLAND, TX 76681
10483554   B &F Cattle Co          Ag Texas Farm Credit           Rt.1 Box 136         Richland, TX 76681
10483555   B &M Cattle Co.          P.O. Box 634         Carthage, MO 64836
10483557   B &P Trucking          P.O. Box 236          Chrisman, TX 77838
10482944   BBFarms         8090 Greensburg Rd.            c/o Keith Breeding         Greensburg, KY 42743
10483558   BBLand And Livestock            D.l. Evans Bank, Boise, ID           P.O. Box 50175         Billings, MT 59105
10482945   BFCattle (Joe Farmer)          300 W Lamar St           Richland, TX 76681
10483559   B−5 Farms         PO Box 23           Inverness, MS 38753
10483370   BACA COUNTY FEED YARD                     45445 HIGHWAY 160               WALSH, CO 81090
10483497   BAR K CATTLE              1275 7TH AVE            SIOUX CENTER, IA 51250
10483565   BBL Cattle        Box 39          Blackwell, TX 79506
10483498   BEEF MARKETING GROUP COOP                      PO BOX 1506             GREAT BEND, KS 67530
10483372   BILL JONES           865 MERIDIAN ROAD                 MITCHELL, IN 47446
10483373   BILL WARD            BOX 104           COOLIDGE, TX 76635
10483374   BLUEGRASS STOCKYARDS INTERNET                         P.O. BOX 1023            LEXINGTON, KY 40588
10483375   BOB LANGE            P.O. BOX 331            ORD, NE 68862
10483376   BOBBY LEWIS              HC 65, BOX 101A             OVERBROOK, OK 73453
10483377   BRANDON FUNKHOUSER                     1401 S BROADWAY                HOBART, OK 73651
10483378   BRENT POLLET              PO BOX 132            OAKS, OK 74359−0132
10483379   BRIAN JOHNSON                ROUTE 1, BOX 28A             GOTEBO, OK 73041
10483380   BRIAN WITT            P.O. BOX 57           FALLS CITY, NE 68355
10483499   BRIGGS FEED YARD                3044 ALVO ROAD               SEWARD, NE 68434
10483381   BROOK PORT CATTLE CO.                   3042 LAKEVIEW DR               METROPOLIS, IL 62960
10483382   BUCKHANNON STOCKYARDS, INC.                        P.O. BOX 46          BUCKHANNON, WV 26201
10483383   BUD HEINE           412 STERLING STREET                  VERMILLION, SD 57069
10483384   BUFFALO LIVESTOCK AUCTION                     44 TW RD. P.O. BOX 427               BUFFALO, WY 82834
10482946   Baca County Feed Yard, Inc.           45445 Hwy 160           Walsh, CO 81090
10483560   Bailey Moore         c/o Joplin Regional Stockyard           10131 Cimmaron Road            Carthage, MO 64836
10483561   Barbara Muir−Kissel           2990 State Route 62          Corydon, IN 47112
10482947   Barnes Trucking          21936 Lawrence 2222            c/o Shannon Barnes          Aurora, MO 65605
10483562   Barnes Trucking          Shannon Barnes          219 36 Lawrence 2222            Aurora, MO 65605
10482948   Barren County Sheriff          117−1B N Public Square            Glasgow, KY 42141
10483563   Barry Hale        P.O. Box 8205           Longview, TX 75607
10483566   Beau Tabor         166 Edgar Ford Rd           Summer Shade, KY 42166
10483567   Beef Transport         7892 Tandy Rd          Lanesville, IN 47136
10453765   Ben Armstrong          Rt 2 Box 256          Albany, KY 42602
10483568   Ben Gibson         207 Fairway Drive          Providence, KY 42450
10482949   Ben H. Armstrong           2290 Lettered Oak Rd.          Albany, KY 42602
10482950   Bennie Mutter         527 Mutter Rd          Glasgow, KY 42141
10483569   Benton Farms         306 4th Street         Benton, AL 36785
10483570   Bertolino Livestock And Transportation           P.O. Box 21425           Billings, MT 59104
10483571   Bertram Cattle Hauling          P.O. Box 437          Vinita, OK 74301
10482951   Beth Royalty        8350 Heinze Road NE             Lanesville, IN 47136
10483576   Bill Chase       P O Box 2038            1157 Harry King Rd.           Glasgow, KY 42142−2038
10483577   Bill Crist      353 Hiseville E Main          Glasgow, KY 42141
10483579   Bill Ward        American Bank            Box 104         Coolidge, TX 76635
10482952   Bill Warren        108 Qualls Lane          Livingston, TN 38570
10482953   Billie W. Hurt        29 Barren River Dam Rd            Scottsville, KY 42164
10483581   Billingsley Auction Sale, Inc.         P.O. Box 505         Senatobia, MS 38668
10483582   Billy Hurt       29 Barren River Dam Rd             Scottsville, KY 42164
10483583   Billy Milby        3210 J.E. Jones Rd         Magnolia, KY 42757
10482954   Billy Neat       705 B Neat Road            Columbia, KY 42728
10482955   Billy Wayne Price          1391 Summersville Rd.           Greensburg, KY 42743
10483585   Blue Grass South Livestock Market, LLC             P.O. Box 438          Stanford, KY 40484
10482956   Blue Grass South Livestock Market, LLC             PO Box 438           277 Cordier Lane         Stanford, KY 40484
10483586   Blue Grass Stockyards Co., Inc.          P.O. Box 1023           Lexington, KY 40588
10482957   Blue Grass Stockyards of Richmond, LLC              348 K Street         Richmond, KY 40475
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10483587   Bluegrass Maysville Stockyard, LLC            7124 AA Highway East            Maysville, KY 41056
10482958   Bluegrass Maysville Stockyard, LLC            7124 AA Hwy East           Maysville, KY 41056
10482959   Bluegrass Stockyards East, LLC           PO Box 765          Mt. Sterling, KY 40353
10483588   Bluegrass Stockyards Internet         c/o Bluegrass Stockyards          P.O. Box 1023        Lexington, KY 40588
10483589   Bluegrass Stockyards Of Richmond, LLC             340 K Street         Richmond, KY 40475
10482960   Bluegrass Stockyards of Campbellsville,          PO Box 509          Campbellsville, KY 42719
10482961   Bluegrass Stockyards, LLC           PO Box 1623          Lexington, KY 40588
10483590   Bob Everett        Box 1887          Woodward, OK 73802
10482962   Bob Sawyers         616 Willis Creek Rd.          Albany, KY 42602
10483591   Bob Sawyers         Rt 4        Albany, KY 42602
10483592   Bob Stinnett       300 Charlie Hickey Rd           Sparta, TN 38583
10483599   Bob's Auto Supply          P.O. Box 419         Edmonton, KY 42129
10483593   Bobby Farmer          P.O. Box 77         Warrensville, NC 28693
10482963   Bobby Groce          1567 Oil City Rd.         Glasgow, KY 42141
10482964   Bobby L. Stinnett         62 Tatesville Rd.       Palmer, TN 37365
10483594   Bobby Lewis          Citizens Bank Of Clovis         Hc 65, Box 101A           Overbrook, OK 73453
10483595   Bobby Martin          3160 N Jackson Hwy           Canmer, KY 42722
10483596   Bobby Newman            P.O. Box 1002          Bixby, OK 74008
10483597   Bobby Smith         1105 Grady Road            Munfordville, KY 42765−9264
10483600   Bomhak Trucking           5704 North Shephard          El Reno, OK 73036
10483601   Bovine Medical Assoc.,LLC            Dawn Bush          1500 Soper Road          Carlisle, KY 40311
10482965   Bovine Medical Associates           1500 Soper Rd.        Carlisle, KY 40311
10483602   Boyd Copas         2195 E Phillipi Church Rd          Tompkinsville, KY 42167
10482966   Boyd Copas         2195 E. Phillippi Church Rd.          Tompkinsville, kY 42167
10483603   Bpt Livestock         Bryan Pruitt        100 Old Carpenter Lane          Harrison, AR 72601
10482967   Brack Briscoe         2069 South Meridian Rd          Mitchell, IN 47446
10483606   Brad Daughtey          2154 E County Rd 200 N           Paoli, IN 47454
10482968   Brad Flood        910 W. Main St.          Cloverport, KY 40111
10483607   Brad Hagan         9305 Hwy 54           Whitesville, KY 42378
10482969   Bradbury &York Cattle           PO Box 588         Tatum, TX 75691
10462137   Bradley Rummel           8860 W. Farm Road 112           Willard, MO 65781
10483609   Brandon Zeisler         30155 354th         Saint Charles, SD 57571
10482970   Brantley Security Services         2929 S Floyd Street        Louisville, KY 40209
10483610   Breeding Bros         9440 Columbia Hwy            Greensburg, KY 42743
10482971   Brenda Gayle Hunt          1419 Akersville Rd.         Fountain Run, KY 42133
10483611   Brenda Hunt         1419 Akersville Rd          Fountain Run, KY 42133
10483612   Brent Keith       505 Marlowe Campbell Rd             Columbia, KY 42728
10483615   Brian Bean        3177 Celina Rd.          Burkesville, KY 42717
10483616   Brian Lovell        8394 Tandy Ln          Lanesville, IN 47136
10483617   Brian Robertson         3523 Edmonton Rd           Columbia, KY 42728
10482972   Brian Scott       4163 Aetna Grove Church Rd.            Summersville, KY 42782
10483618   Brian Scott       4220 Aetna Grove Church Rd             Summersville, KY 42782
10483619   Brilyn Garrett        4567 Randolph Goodluck Rd            Summer Shade, KY 42166
10483620   Broughton Cattle, Inc.        577 Lanarkshire Place         Lexington, KY 40509
10482973   Brown Trucking          2725 N. 383         Wetumke, OK 74883
10483621   Brown Trucking          Richard Brown          2725 N. CR 383           Wetumka, OK 74883
10482974   Brystice Amanger Wright           198 Dry Fork Rd.         Brush Creek, TN 38457
10483622   Brystice Wright         198 Dry Fork Rd          Brush Creek, TN 38457
10483623   Buddy Head         1830 Safari Camp Road            Lebanon, TN 37087
10483624   Buetow Lemastus &Dick, PLLC              Attn: Terry L. Stapp        1510 Cit. Plaza, 500 W. Jeff.      Louisville, KY
           40202
10423405   Buetow, LeMastus &Dick PLLC              Terry L Stapp         1510 PNC Plaza          Louisville, KY 40202
10482975   Buffalo Livestock Auction, LLC           Box 427         Buffalo, WY 82834
10483625   Burke Livestock Auction          RR2 Box 33          Burke, SD 57523
10483626   Burkmann Feeds           319 North Main          Edmonton, KY 42129
10482977   Butch Gibson         2431 Breeding Rd.          Edmonton, KY 42129
10483627   Byron Lang Inc.         P.O. Box 301         Jackson, MO 63755
10483628   C &C Farms          293 Chapman Rd            Tompkinsville, KY 42167
10483629   C &H Cattle         P O Box 7         Fountain Run, KY 42133
10483385   C &M CATTLE              PO BOX 627           BOISE CITY, OK 73933
10483630   C &M Cattle         P.O. Box 67          Boise City, OK 73933
10483631   C L F Feeders         2123 West Mill Street         Buffalo, MO 65622
10483632   C V Farm        70 Roberts Rd           Watertown, TN 37184
10483633   C W Haines         1925 Loren Collins Rd          Glens Fork, KY 42741
10482978   CCFarms         293 Chapman Rd.            c/o Teddy &Toby Chapman             Tompkinsville, KY 42167
10483644   C−H Cattle Co          Chipper Hicks         1357 Highway 6 E           Oxford, MS 38655
10483634   C.B. Gilbert       3 G Cattle Co.         4374 Bloomfield Road           Taylorsville, KY 40071
10483635   C4 Cattle/Scott Dean         1388 Erin Drive         Chester, SC 29706
10483500   CACTUS FEEDERS, INC.                P.O BOX 3050          AMARILLO, TX 79116−3050
10483501   CATTLCO           P.O. BOX 488           FT MORGAN,CO 80701
10483386   CATTLE COUNTRY VIDEO                   P.O. BOX 399          TORRINGTON, WY 82240
10483502   CIRCLE 3 FEEDYARD                BOX 830          HEREFORD, TX 79045
10483387   CLAY J. CARTER             RT. 2 BOX 215           WAURIKA, OK 73573
10483503   COTTONWOOD FEEDERS                    P.O. BOX 249          STUART, NE 68780
10483688   CPC Feed Store          721 W Main St          Glasgow, KY 42141
10483003   CPC Livestock          13196 Holland Road          Fountain Run, KY 42133
10483689   CPC Livestock          Farm Credit Services         13196 Holland Road          Fountain Run, KY 42133
10483004   CPD         9016 Taylorville Rd         Box 216         Louisville, KY 40299
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10483504   CRAIG CATTLE LLC                 255 CO RD 21          CRAIG, NE 68019
10483388   CROSSED J CATTLE                 PO BOX 729          BARTLESVILLE, OK 74005
10483505   CURT JONES             4820 220TH AVE             SIOUX RAPIDS, IA 50585
10483008   CV Farms          70 Roberts Rd.         c/o Paul George          Watertown, TN 37184
10482979   Cactus Feedyard (Big Cabin, OK)            2209 West 7th Street          Amarillo, TX 79116
10482980   Cactus Feedyard (Happy, TX)            2210 West 7th Street          Amarillo, TX 79117
10482981   Cactus Feedyard (Strington, OK)           2211 West 7th Street          Amarillo, TX 79118
10483636   Cambridge Transportation            36392 Treasury Center          Chicago, IL 60694−6300
10509695   Capitol Indemnity Corporation           P.O. Box 5900           Madison, WI 53705−0900
10482982   Carl Jeffries       471 Hubbard Harris Rd.           Edmonton, KY 42129
10482983   Carol T. Walden          1341 Kino Rd.          Glasgow, KY 42141
10483638   Carol Walden          1341 Kino Rd          Glasgow, KY 42141
10482984   Carolyn Bledsoe          1131 Weed Sparksville Rd.            Columbia, KY 42728
10482985   Carolyn Thompson            1300 Ritchie Lane         Bardstown, KY 40004
10483639   Carroll Co L/S Sale Barn, Inc.         PO Box 279           Carrollton, GA 30117−0279
10483640   Carusco Trucking LLC             PO Box 671         Richfield, UT 84701
10361078   Cattlco, LLC         c/o Nolan M. Johnson, Esq.           BASS, BERRY &SIMS PLC                100 Peabody Place, Suite
           900        Memphis, TN 38103
10482986   Cattleman's Livestock          PO Box 26          Lakeland, FL 33802
10483641   Cattleman's Livestock Auction           P.O. Box 26          Lakeland, FL 33802
10483642   Center Point Animal Hospital           2360 Hwy 26 West            Nashville, AR 71852
10483643   Central Printing Co., Inc.         2418 West Main St          Louisville, KY 40212
10483645   Chad Baker         11755 North Tobacco Landing              Laconia, IN 47135
10482987   Chad Daniel Withrow            2100 Bishop Rd          Glasgow, KY 42141
10483646   Chad Houck          409 County Rd 6           Black, AL 36314
10483647   Chad Schuchmann             1912 Winged Foot Drive           Nixa, MO 65714
10483648   Chad Whithrow           2100 Bishop Rd           Glasgow, KY 42141
10482988   Champ Colley          2002 Law 2120           Sarcoxie, MO 64062
10483649   Chandler Burton          4088 Blackburn Hollow Rd             Pulaski, TN 38478
10483651   Charles Douglas Copher            1280 Peastick Road          Owingsville, KY 40360
10483652   Charles Graham          PO Box 775          Gatesville, TX 76528
10482989   Charles Graham Farms             PO Box 775         Gatesville, TX 76528
10456544   Charles Leon Isenberg           4942 Edmonton Rd            Tompkinsville, KY 42167
10482990   Charles M. Rush          5335 Tompkinsville Rd.           Summer Shade, KY 42166
10483653   Charles Rush         5335 Tompkinsville Rd            Summer Shade, KY 42166
10482991   Charles W. Haines Jr          1925 Loren Collins Rd           Glen Fork, Ky 42741
10483654   Charles Watkins          108 Lecta Coral Hill Rd          Glasgow, KY 42141
10483655   Charlie Brown          4931 Old Burkesville Rd           Albany, KY 42602
10482992   Charlie Dee Brown           4931 Old Burkesville Rd.           Albany, KY 42602
10483656   Charlie Fisher        448 Lambert Rd           Scottsville, KY 42164
10483657   Charlie Robinson          CRCattle Co          191 Carson Street         Pontotoc, MS 38863
10482993   Charlie T. Fisher        448 Lambert Rd.           Scottsville, KY 42164
10483658   Chase Stapleton         200 Silver Maple Court           Versailles, KY 40383
10483659   Chastain Feeds         3363 State Hwy D           Crane, MO 65633
10483660   Chester Bay         31166 Hwy 50 East           La Junta, CO 81050
10482994   Chip Miller Trucking           PO Box 126         c/o Chip Lee Miller          St. George, KY 66535
10482995   Chris Barton        1172 Bridge Hollow Rd.            Scottsville, KY 42164
10483662   Chris Blankenship          23594 Lawrence 1200            Aurora, MO 65605
10483663   Chris Greathouse          1801 Greathous Road           New Harmony, IN 47631
10483664   Chris Martin        251 Pond Road           Canmer, KY 42722
10483665   Christie Family Enterprises In         5161 Eagle Feather Rd           Delta, CO 81416
10433429   Christine Family Enterprises, Inc.         Lincoln and Amber Crhistie           5161 Eagle Feather Rd.      Delta, CO
           81416
10483666   Chuck Robinson           5255 Veterans Hwy W             Pontotoc, MS 38863
10483667   Citt Cumberland          City Of Edmonton           P.O. Box 374          Edmonton, KY 42129
10482996   City of Edmonton           PO Box 374          Edmonton, KY 42129
10482997   Clarence B. Gilbert          4374 Bloomfield Rd.          Taylorsville, KY 40071
10483668   Clark Christensen         PO Box 442           Okolona, MS 38860
10482998   Claude Jones         6 Claude Jones Rd.          Edmonton, KY 42129
10483669   Clem Nelson          490A South Road I           Johnson, KS 67855
10483670   Clerk Of The Supreme Court            Court Of Appeals &Tax Court             200 W. Washington St., Rm
           216        Indianapolis, IN 46204−2795
10483671   Cline Wood Agency, Inc.            P.O. Box 415035           Kansas City, MO 64141−5035
10482999   Clinton Alton Darnell          480 Blevins Hollow Rd.           Piney Creek, NC 28663
10483672   Cloonen Trucking Co.            5881 West Rt. 115         Kankakee, IL 60901
10483000   Coffeyville Livestock Market LLC            PO Box 1074           Coffeyville, KS 67337
10552611   Coffeyville Livestock Market, LLC            c/o William E. Smith, III         Kightlinger &Gray, LLP       Bonterra
           Building, Suite 200          3620 Blackiston Blvd.         New Albany, IN 47150
10483675   Coffeyville Livestock Mkt, LLC            P.O. Box 1074          Coffeyville, KS 67337
10483676   Cole Brothers Trucking           PO Box 209          Connerville, OK 74836
10483677   Colley Farms         2002 Lawrence 2120            Sarcoxie, MO 64862
10483678   Colton Downey           c/o Bobby Downey            P O Box 88          Columbia, KY 42728
10483001   Columbia Gas Company              PO Box 742523           Cincinnati, OH 45274−2523
10483679   Columbia Gas Company Of Kentucky                200 Civic Center Dr., 11th Floor         Columbus, OH 43215
10483680   Columbia Livestock Market            P.O. Box 354          Lake City, FL 32056
10483681   Commonwealth Of Kentucky               Revenue Cabinet          P.O. Box 491         Frankfort, KY 40602
10483682   Companion Life Insurance Co.            7909 Parklane Road           Suite 200        Columbia, SC 29223
10483683   Cook Trucking Inc           Bryan        RRT Box225−C             Stroud, OK 74075
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10483684   Cooper Christenson           P.O. Box 442           Okolona, MS 38860
10483002   Corcoran Trucking, Inc.           221 Lomond Lane              Billings, MT 59101
10483686   Corcoran Trucking, Inc.           P.O. Box 1472            Billings, MT 59103
10483690   Craig Burns Trucking            PO Box 1265           Fostville, IA 52162
10483691   Criswell, Inc.       Marvin Criswell Lvstk &Truckg                 2310 45 Bypass         Trenton, TN 38382
10483692   Crooked Oak Services            Quintin Crowley            19515 Crooked Oaks Grove             St. Onge, SD 57779
10483006   Crumpler Brothers           4925 Friberg Church Rd.             Wichita Falls, TX 76305
10483693   Crumpler Brothers           4925 Frieberg Church Rd              Wichita Falls, TX 76305
10483694   Crystal's Livestock Express           Dave Crystal           692 E 600 Ave          Pittsburg, KS 66762
10483695   Culleoka Stockyards           4460 Pulaski Highway              Culleoka, TN 38451
10483007   Cullman Stockyard, Inc.           75 County Rd. 1339             Cullman, AL 35058
10483697   Custom Feed Mill, Inc.           630 N Hughes St            Morganfield, KY 42437
10483009   D &B Cattle Company              100 Bonita St.          c/o Bill Moler        Elk City, OK 73644
10483698   D &B Cattle Company              Bill Moler         100 Bonita St.         Elk City, OK 73644
10483506   D B FEEDYARD               2370 COUNTY RD. D                 TEKAMAH, NE 68061
10483699   DRFarms          P.O. Box 1005             Terry, MS 39170
10483700   DRTrucking, Inc           P.O. Box 267           Anthon, IA 51004
10483010   D.S. Johnson Farms            1420 Mill Creek Rd.            Tompkinsville, KY 42167
10483389   DALLAS MCPHAIL                  RT 1, BOX 106            MT. PARK, OK 73559
10483390   DARREN BAKER                RT. 1 BOX 20B              MT. PARK, OK 73559
10483391   DAVE WINGO               4231 NORTH 371 RD                 HOLDENVILLE, OK 74848
10483392   DAVID HILBERT               ROUTE 3, BOX 280                WALTERS, OK 73572
10483393   DON STALLBAUMER                   1832 UTAH ROAD                 FRANKFORT, KS 66427
10483507   DOUG SHEPPARD                 HC 80 BOX 30              MILLES, NE 68753
10483508   DOUGLAS D. SUNDERMAN                       83386 556TH AVE              NORFOLK, NE 68701
10445917   DUKE ENERGY                EF−367           P.O. BOX 960            CINCINNATI, OHIO 45273−9598
10483701   Dale Page        9525 Edmonton Rd               Summer Shade, KY 42166
10483702   Dale Stull Trucking          Box 41          Nara Visa, NM 88430
10483703   Dalton Bragg         869 Society Hill Rd            Edmonton, KY 42129
10483011   Dalton W Bragg           869 Society Hill Rd            Edmonton, KY 42129
10483704   Dan Byrd         P.O. Box 2057             Okeechobee, FL 34973
10483705   Dan Werne          12031 East County Rd 200N                Ferdinand, IN 47532−7650
10483706   Daniel G Fulkerson           237 Dekoven Rd             Sturgis, KY 42459
10483707   Daniel Harmon           4295 N Burgess Circle Road               Depauw, IN 47115
10483708   Danny Billingsley          197 Barbour Cemetery Rd               Glasgow, KY 42141
10483012   Danny Clifton Billingsley           197 Barbour Cemetary Rd.              Glasgow, KY 42141
10483709   Danny Miller         1690 Safari Camp Road               Lebanon, TN 37090
10483013   Dante Zago         8201 Couchville Pk.             Mt. Juliet, TN 37122
10483710   Dante Zago &Farm Credit              3461 Underwood Road               Mount Juliet, TN 37122−4724
10483712   Darby Montgomery             36 Thompson Road              Lancaster, KY 40444
10483714   Darrell Blackman           3200 Schaffer Lane            Elizabeth, IN 47117
10483014   Darrell Lynn Wood            845 Captain Redford Rd.             Cave City, KY 42127
10483715   Darrell Walker         Dl Walker            498 Lakeview Road            New Tazewell, TN 37825
10483716   Darrell Wood          845 Cap Redford Rd             Cave City, KY 42127
10483015   Data Copy Inc          3508 Hillcreek Road            Louisville, KY 40220
10483016   Dave Dufour          405 S Sherrin Ave            Louisville, KY 40207
10483717   Dave Lewis Trucking LLC               4133 Lane 67           Fowler, CO 71039
10411904   David Bowles dba Amos Development LLC                    1401 Pigeon fork Rd           Lawrenceburg, KY 40342
10483722   David Cassady          1497 Pleasant Valley Ch              Horse Cave, KY 42749
10483017   David E. Read          583 Love Knob Rd.             Glasgow, KY 42141
10483018   David Gordon          1758 Old Temple Hill Rd.              Tompkinsville, KY 42167
10483019   David Holley         377 Blue Springs Rd.             Knob Lick, KY 42154
10483021   David Lynn Cassady             1497 Pleasant Valley Church Rd.             Horse Cave, KY 42749
10428402   David Marrs Gordon             1758 Old Temple Hill Road              Tompkinsville, KY 42167
10483022   David Michael Burgess            360 Cherokee Rd.             Lucas, KY 42156
10483723   David Read         583 Love Knob Road               Glasgow, KY 42141
10467583   David Rings         1288 Frontage Road              Russell Springs KY 42642
10483724   Davis Meats         Highway 50 W              West Point, MS 39773
10483726   De Cordova Cattle Co.            P.O. Box 517           Groesbeck, TX 76642
10483728   Deborah Carnathan            3380 Hwy 8 East            Houston, MS 38851
10483023   Delphia Ann Garrett           4567 Randolph−Good Luck Rd.                Summer Shade, KY 42166
10483729   Delphia Garrett         4567 Randolph Goodluck Rd                Summer Shade, KY 42166
10483730   Dennis Neat         6198 Burkesville Rd             Columbia, KY 42728
10483024   Dennis Ray Neat           6098 Burkesville Rd.            Columbia, KY 42728
10483731   Dennis Schroeder           1st National Bank Of Elk City             29304 CR 110          Freedom, OK 73842
10483732   Denver Capps          P O Box 975            Burkesville, KY 42717
10483025   Denwalt &Son Cattle Co.            10004 Reno W.              El Reno, OK 73036
10483733   Denwalt &Sons Cattle Co. LLC               10004 Reno W             El Reno, OK 73036
10483026   Development Specialists, Inc.            Suite 2300         70 W. Madison           Chicago, IL 60602
10483734   Diamond 3         546 Debra Ct.             Versailles, KY 40383
10483027   Dick Wallace         8045 FM 182             Gatesville, TX 76528
10483736   Dick Wallace         National Bank Of Gatesville              8045 Fm Rd 182            Gatesville, TX 76528
10483735   Dick and Jim Carr          James Carr           2404 Lexington Rd           Richmond, KY 40475
10483737   Dickson Livestock Center, Inc            P.O. Box 591            Dickson, TN 37055
10483028   Dickson Livestock Center, Inc.            PO Box 591            c/o Terry Lemons          Dickson, TN 37056
10483738   Diedrichsen Cattle Company              52271 Baker Rd            Neligh, NE 68756
10483029   Dinsmore &Shohl            255 East Fifth Street, Suite 1900            Cincinnati, OH 45202
10483030   DirecTV         PO Box 60036              Los Angeles, CA 90060
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10483031   Dish Network         PO Box 105169            Atlanta, GA 30348
10483740   Div. Of Child Support Enforce.          P.O. Box 14059          Lexington, KY 40512
10483741   Dogi LLC         135 West Market St.           New Albany, IN 47150
10483742   Dollar General Store         109 US Highway 41A N             Providence, KY 42450−2126
10483032   Dollar K Cattle       PO Box 125           Elmore City, OK 73433
10483743   Dollar K Feedyard          29239 N CR 3150, PO Box 125              Elmore City, OK 73433
10483744   Don Green         9973 County Rd. 87           Roanoke, AL 36274
10483745   Donald Alexander          615 Saint John Rd         Lascassas, TN 37005
10483033   Donald Hawks          8829 Finney Rd.          Glasgow, KY 42141
10483034   Donald R. Alexander          16550 Cainsville Rd.          Lancassas, TN 37085
10483035   Donald R. Sympson           151 Murrays Run Rd.           Bardstown, KY 40004
10483036   Donald Richard Lyle          8627 New Glasgow Rd.             Scottsville, KY 42164
10483037   Donna Good          247 Delmont Ave           Louisville, KY 40206
10483038   Donnie Coomer          150 Coomer Rd.           Edmonton, KY 42129
10483747   Donnie Sympson           151 Murray Run Rd           Bardstown, KY 40004
10483748   Donrinda Ann Morrison           Dorris Jean Depp          PO Box 43163            Louisville, KY 40253
10483039   Dorinda Morrison          8035 Fairplay Rd.         Columbia, KY 42728
10483040   Doris Jean Depp         PO Box 43163           Louisville, KY 40253
10483041   Dothan Livestock Co          9711 Hwy 231 South            Dothan, AL 36301
10483749   Dothan Livestock Co.          P.O. Drawer 6596          Dothan, AL 36302
10483750   Double D Land And Livestock            PO Box 929           Shelbyville, TN 37162
10483751   Double M Transportation LLC            River Valley Express          643 Deon St          Burley, ID 83318
10483042   Doug Browning          3730 Edmonton Rd.            Glasgow, KY 42141
10483752   Doug Smith         1654 Henson Rd            Moss, TN 38575
10483753   Dr. Bud Willis        Rt. 2 Box 59         Sulphur, OK 73086
10483754   Dr. James M. Boyer          P.O. Box 551         Houston, MS 38851
10483755   Dragonfly Trucking LLC            609 Pass Creek Rd          Parkman, WY 82838
10483756   Drover's Livestock Hauling          3040 Gigal Rd         Turner Station, KY 40075
10483043   Duke Energy         PO Box 9001076            Louisville, KY 40290−1076
10483044   Dwayne Smith          4238 Garfield Hinds Rd.          Monroe, TN 38573
10483394   EBEN BAILEY RANCH                 504 HOWARD ST              BONESTEEL, SD 57317
10361254   ELI J. PATTEN          CROWLEY FLECK PLLP                   P.O. BOX 2529           BILLINGS, MT
           59103        epatten@crowleyfleck.com
10483757   Eagle Bay, Inc        P.O. Box 1284          Okeechobee, FL 34973
10483758   Earl Veterinary Supply, Inc         P.O. Box 70         Fayette, MO 65248
10483759   East Miss. Farmers Livestock          12190 Pecan Avenue            Philadelphia, MS 39350−5232
10483045   East Mississippi Farmers Livestock Co           12190 Pecan Ave.           Philadelphia, MS 39350
10483760   East Tennessee Livestock Cent.          P.O. Box 326          Sweetwater, TN 37874
10483762   East−West Trucking Co., LLC            135 West Market Street           New Albany, IN 47150
10483761   Eastern Cattle Co., LLC         135 West Market Street          New Albany, IN 47150
10483763   Ecco 1 LLC &Cattle Consultants, LLC             14111 Co. Rd. 2          Wiggins, CO 80654
10483046   Ecomputer Services, Inc.          6201 Broadway Ave           Evansville, IN 47712
10483764   Ed Arterburn        P O Box 186          Park City, KY 42160
10483765   Ed Edens Farm         P.O. Box 55          Okolona, MS 38860
10483766   Ed Edens IV         4724 Hwy 32           P.O. Box 570         Okolona, MS 38860
10483047   Ed Vander Brink          319 Main St.         Alvord, IA 51230
10483048   Eddie Claywell         Harlan E Judd III        PO Box 27           Bowling Green, KY 42102
10483049   Eddie Eicke        11888 CR 1202            Snyder, TX 79549
10483767   Eddie Strickland        Bank First         3408 Hwy 389          Pheba, MS 39755
10483768   Edens/Matt Eller         P.O. Box 570         Okolona, MS 38860
10483771   Edmonton Interest         Edmonton Livestock           310 North Main           Edmonton, KY 42129
10483772   Edmonton Livestock Market            310 North Main          Edmonton, KY 42129
10483773   Edmonton Reserve           Edmonton Livestock           312 North Main Street          Edmonton, KY 42129
10483050   Edmonton Water, Sewer &Gas             PO Box 880           Edmonton, KY 42129
10483774   Edmonton Water, Sewer &Gas Systems               P.O. Box 880          Edmonton, KY 42129
10483775   Edmonton Yardage Extra            310 North Main         Edmonton, KY 42129
10483051   Edward L. Arterburn          PO Box 186          Park City, KY 42160
10483052   Edwin A. Strickland         3408 Hwy 389           Phela, MS 39755
10483776   Eischeid Trucking LLC           32390 454th Street         Motley, MN 56466
10483053   Eischeid Trucking, LLC           32390 454th        c/o Joseph Leonard Eischeid            Motley, MN 56466
10483054   Elizabeth Lynch         c/o Development Specialists, Inc.          70 W. Madison, Suite 2300          Chicago, IL
           60602
10483055   Elmer C. Rigdon          1320 Horton Rigdon Rd.           Glasgow, KY 42141
10483777   Elmer Rigdon         1320 Horton Rigdon Rd            Glasgow, KY 42141
10483778   Emberton &High           Sulphur Lick Rd.         Tompkinsville, KY 42167
10483056   Ephriam Wilson          5614 County House Rd            Tompkinsville, KY 42167
10483779   Eric Paul Brown         707 Cleveland Ave          Glasgow, KY 42141
10483057   Erik Paul Brown         707 Cleveland Ave.          Glasgow, KY 42141
10483780   Ernie Elder       P.O. Box 153          Byrdstown, TN 38549
10483781   Eugene Barber &Sons, Inc           1228 Lisle Road          P.O. Box 1327          Lexington, KY 40511
10483782   Eugene Pedigo         8313 Randolph Summer Shade Rd               Summer Shade, KY 42166
10483783   Exchange         PO Box 490          404 South Main Ave.            Fayetteville, TN 37334
10483784   FMFarms          PO Box 14          Bullard, TX 75757
10483396   FAITH CATTLE CO.              409 CR 6,         BLACK, AL 36314
10483509   FIVE RIVERS CATTLE FEEDING                   1770 PROMONTORY CIRCLE                    GREELEY, CO 80634
10483063   FNJ, LLC         PO Box 596           Wisner, NE 68791
10483397   FOREST GOOMAN                679 HWY 245           DADEVILLE, MO 65635
10483785   Fao Gary Thompson            Route 2, Box 94         Hedley, TX 79237
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10483786   Farm Data Services           Clay Burtrum         1770 West Lakeview Road            Stillwater, OK 74075
10483787   Farmers Feed Mill, Inc           251 West Loudon Ave           Lexington, KY 40508−1273
10483788   Farmers Livestock Auction            P.O. Box 91         14747 Old Hwy 40          Boonville, MO 65233
10483789   Farmers Livestock Market−AAL               Hwy 16 East         P.O. Box 87         Carthage, MS 39051
10483058   Farmers Livestock Marketing             PO Box 87         Carthage, MS 39051
10483790   Federal Express Corporation            P.O. Box 94515         Palatine, IL 60094−4515
10483791   Ferrell Moore         691 S. Farm Road 35           Bois D Arc, MO 65612
10436742   Fia Card Services, NA As Successor In Interest to           Bank of America NA and Mbna America Bank               1000
           Samoset Drive          DE5−023−03−03             Newark, DE 19713
10483059   Fifth Third Bank          38 Fountain Square Plaza          MD 10AT63           Cincinnati, OH 45263
10483792   Fifth Third Bank          401 South 4th Ave         Louisville, KY 402023411
10448547   Fifth Third Bank          c/o Randall D. LaTour, Esq.         52 East Gay Street         Columbus, OH 43215
10483793   Fischer Bros        29549−431st Ave            Lesterville, SD 57047
10483060   Fischer Bros. Trucking, LLC            29549 431st Ave.         Lesterville, SD 57040
10483794   Five Rivers Cattle Feeding           Yuma Feedlot         38002 County Road North           Yuma, CO 80759
10483795   Five Star Livestock LLC            10319 Highway 62          Charlestown, IN 47111
10483061   Floyd County Treasurer            PO Box 2010          New Albany, IN 47151
10483062   Floyd Haywood Marr             4532 Sandhill Rd.         Louisville, KY 40219
10483797   Flying M Ranch           1016 CR 416 North           Lake Panasoffke, FL 33538−6128
10483798   Forbis Farm         230 Walnut Hill Rd           Summer Shade, KY 42166
10483064   Forbis Farms         230 Walnut Hills Rd.          Summer Shade, KY 42166
10483799   Forever Communications             1919 Scottsville Rd        Bowling Green, KY 42104
10483800   Fort &Worth Co           Efren Saavedra Dba           P.O. Box 67050          Alburquerque, NM 87193
10483065   Fort Payne Stockyard, Inc.           PO Box 681126          Fort Payne, AL 35968
10483801   Fort Payne Stockyards           P.O. Box 681126          Fort Payne, AL 35968−1612
10483802   Foster Feed &Farm            c/o Kenneth Don Foster          P.O. Box 7        Bakersfield, MO 65609
10483066   Four Way Cattle Co.           Box 130         c/o Tom Estes         Adrian, TX 79001
10483803   Four Way Cattle Co.           c/o Tom Estas         P.O. Box 130         Adrian, TX 79001
10483804   Fousek Farm &Trucking, LLC               28474 391st Avenue          Armour, SD 57313
10483067   Fousek Farms &Trucking, LLC               28381 US Hwy 281           Armour, SD 57313
10483805   Frank Gibson         P.O. Box 392           Edmonton, KY 42129
10483806   Fred Birdwell         1543 Tommy Dotson Hwy               Cookeville, TN 38506
10483807   Fred Dickson         1636 Prices Creek Rd           Edmonton, KY 42129
10483808   Fred Garnett        2222 John Rives Rd            Hopkinsville, KY 42240
10483068   Fred L. Dickson          1636 Prices Creek Rd.          Edmonton, KY 42129
10483809   Fred Thomas          1150 Christie Sano Rd           Columbia, KY 42728
10483810   Fred Young         1017 J A Young Rd             Edmonton, KY 42129
10483069   Frederick David Thomas             1150 Christin Sano Rd.         Columbia, KY 42728
10483070   Fredin Brothers         Highway 14E Box 37             Springfield, Mn 56087
10483811   Friona Industries, L.P.         500 S Taylor        P.O. Box 15568           Amarillo, TX 79105
10483812   Frontier       PO Box 2951            Phoenix, AZ 85062−2951
10483071   Frontier       PO Box 6000            Hayden, ID 83835
10483813   Ft. Scott Livestock Market Inc.          P.O. Box 270         Fort Scott, KS 66701
10483814   G &C Trucking           P.O. Box 24          Munday, TX 76371
10483815   G &G Trucking Inc            P.O. Box 335         Ecru, MS 38841
10483816   G &H Cattle         5826 Hwy 223 N             Viola, AR 72583
10483817   G Deal        135 West Market            New Albany, IN 47150
10483818   G P Cattle Company            7827 Tandy Rd.          Lanesville, IN 47136
10483819   G W Transport          P.O. Box 2125           Deming, NM 88031
10483820   GTrucking, Inc          2501 Exchange Ave Rm138              Oklahoma City, OK 73108
10483821   G7 Ranch Inc         1137 N. Lake Shore Blvd            Lakewales, FL 33853
10483398   GARY CARTER                ROUTE 2, BOX 215             WAURIKA, OK 73573
10483399   GARY HERRIN               2106 INDIAN RD            FORT SCOTT, KS 66701
10483511   GARY KRANTZ                1500 SHARPSTONE DRIVE                 MITCHELL, SD 57301
10483400   GARY RIGGS             3292 FM 55           BLOONING GROVE, TX 76626
10483401   GARY SEALS              P.O. BOX 935           DUNLAP, TN 37327
10483403   GENE ALLOWAY                 101 E MAIN ST            LYONS, KS 67554
10483404   GERALD GOODMAN                    615 STATE HIGHWAY 245                DADEVILLE, MO 65635−8142
10483405   GREG EBNER              P.O. BOX 4404           WICHITA FALLS, TX 76308
10483072   Gabriel Moreno Medina             c/o The Law Offices of Stephen H. Nickey           1201 N Mesa Ste B         El Paso TX
           79902
10483073   Garrett Farms         31 W Plantation Rd          Steve A. Garrett         Amarillo, TX 79118
10483725   Garrett Farms         Steven A. Garrett         P.O. Box 31541          Amarillo, TX 79120−1541
10483824   Gary Carter        First Farmers National Bank            Route 2, Box 215        Waurika, OK 73573
10483075   Gary Franklin Whitley           794 Lawrence Rd.          Smiths Grove, KY 42171
10483826   Gary Pickett        2721 Coral Hill Halfway Rd            Glasgow, KY 42141
10483076   Gary Tate        6510 West Lake Rd.            Abilene, TX 79601
10483827   Gary Thompson            P.O. Box 113         Pitkin, La 70656
10483077   Gary W. Campbell            3191 Caudill Rd.         Franklin, KY 42134
10483078   Gary Welch Cattle Company              PO Box 10         Norman, NC 28367
10483828   Gary Whitley         GE Transportation Finance            P.O. Box 822108         Philadelphia, PA 19182−2108
10528304   Gene Shipman           c/o Kirk Crutcher         Mayfield, Crutcher &Sharpee, LLP           Amarillo, TX 79101
10483079   Gene Shipman Cattle Co.             11401 E. FM 1075          Happy, TX 79042
10483080   George E. Logsdon            11045 Hardyville Rd.          Hardyville, KY 42746
10483830   George Hora Trucking            1894 N. Dubuque Rd           Iowa City, IA 52245
10483081   George Hora Trucking, LLC              1894 N. Dubuque Rd.          c/o George E. Hora         Iowa City, IA 52245
10483831   George Logsdon           11045 Hardyville Rd           Hardyville, KY 42746
10483833   George Washer           261 Gibbons Rd           Cave City, KY 42127
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10483834   Gerald Peterman          627 Old Celina Road           Allons, TN 38541
10483082   Glen Hurt        7950 Old Glasgow Rd.             Scottsville, KY 42164
10483083   Glen R. Franklin         PO Box 703          House, NM 88121
10483836   Glenn Franklin         PCA Of Eastern New Mexico               Box 703         House, NM 88121
10483084   Glenwild Stockyard, Inc.          3383 Hwy 51 S.           Grenada, MS 38901
10483839   Glenwild Stockyards          3383 Hwy 51 S            Grenada, MS 38901
10483840   Gowan Stockyard Inc           P O Box 336           Kosciusko, MS 39090
10483841   Grain Processing Corp.          P.O. Box 92670           Chicago, IL 60675−2670
10483842   Grant Gibson         7827 Tandy Road            Lanesville, IN 47136
10483085   Great America Leasing Corp.            PO Box 75266−0831              Dallas, TX 75266
10483843   Green Leaf Farms          268 Hurt Rd          Coldwater, MS 38618
10483844   Green Valley LLC           P.O. Box 65         Salvisa, KY 40372
10483845   Greensburg Record Herald            PO Box 130          Greensburg, KY 42743
10483846   Greg Johson         2750 Pleasant Valley Ch Rd            Center, KY 42144
10483847   Greg Waycaster          450 CR 373          Tupelo, MS
10483848   Greg White         571 Mt Moriah Rd            Summer Shade, KY 42166
10483086   Gregory Lynn Johnson            2750 Pleasant Valley Church Rd.             Center, KY 42214
10483849   Gungoll, Jackson, &Collins           Bradley Gungoll          P. O. Box 1549          Enid, OK 73702
10483850   H &B Trucking, L. L. C.           Kendall Bayless          Route 1, Box 15          Arnett, OK 73832
10483406   HENRY &CLAYTON KNOX                     30231 LEE RD             SEDALIA, MO 65301
10483407   HENRY SIMS             291 SIMS RD            FAUNSDALE, AL 36738
10483512   HERITAGE FEEDERS                 123 ROBERT S. KERR AVE, PO BOX 2410                     OKLAHOMA CITY, OK
           73101
10483408   HOWARD WILLIAMSON                    1951 FM 2384 NORTH                ELECTRA, TX 76360
10483851   Haigh Livestock,LLC           P.O. Box 447          Merrill, OR 97633
10483852   Halee Bunch          2821 Columbia Rd           Burkesville, KY 42717
10483087   Halee Bunch          2821 Columbia Rd.           Burkesvile, KY 42717
10453764   Halee Bunch          Harlan E Judd III         McCracken &Judd PLLC               PO Box 27         Bowling Green, KY
           42102
10483088   Hardee Livestock Market, Inc.           PO Box 1479           Wauchula, FL 33873
10483853   Hardin County Stockyard            P.O. Box 189          Waynesboro, TN 38485
10483090   Harold Whitaker Livestock Transportation             PO Box 1179           Roswell, NM 88202
10483855   Haywood Marr           4532 Sand Hill Rd           Louisville, KY 40219
10483856   Heath &Turpin, Inc.          P.O. Box 1078          Lamar, CO 81052
10483859   Herrboldt Trucking          29449 432nd Ave           Lesterville, SD 57040
10483860   High &High          1150 Sulphur Lick Rd            Tompkinsville, KY 42167
10483091   Hilliard−McKettrick Investments, Inc.           d/b/a Arcadia Stockyard           PO Box 1418         Arcadia, FL
           34265
10483861   Hodge Livestock Network             P.O. Box 627         Newport, TN 37822
10483862   Holladay Farm          760 Beachnut Drive           Pontotoc, MS 38863
10483092   Homer Copeland           295 Copeland Ln.           Celina, TN 38551
10483864   Horizon Beef, Inc.         216 Main, Box 525           Sanborn, IA 51248
10483865   Hoy P Hodges Collection            Trust Acct        319 E 10th Ave           Bowling Green, KY 42102−1865
10483866   Humana Insurance Co            P.O. Box 533          Carol Stream, IL 60132−0533
10483870   IMI Global Inc.         Suite A        221 Wilcox St           Castle Rock, CO 80104
10483867   Iii M Transportation, LLC.          PO Box 31          Okolona, MS 38860
10483868   Ike Boutwell         1815 Cann School Ln            Eastview, KY 42732
10483869   Ike's Trucking Inc.        Ike Jacobs        P.O. Box 81           St. Paul, VA 24283
10426340   Ike's Trucking Inc.        P O Box 81          St. Paul, VA 24283
10483093   Ike's Trucking, Inc.        PO Box 81          c/o Charlie Isaac Jacobs         St. Paul, VA 24283
10520834   Indiana American Water            P.O. Box 578         Alton, IL 62002
10483871   Indiana Beef Council          P.O. Box 2857          Indianapolis, IN 462062857
10483872   Indiana Department Of Revenue             Collection Division          P.O. Box 1028         Indianapolis, IN
           46206−1028
10483094   Indiana−American Water Co.             PO Box 94551           Palatine, IL 60094−4551
10483874   Industrial Disposal Co         P O Box 9001825            Louisville, KY 40290−1825
10483095   Industrial Disposal Co.         1423 S Jackson Street          Louisville, KY 40208−2720
10483875   Ingland Trucking         Jim Ingland         11932 Road 6            Liberal, KS 67901
10483096   Insight Communications            PO Box 740273           Cincinnati, OH 45274
10483877   Intrade Consultants, Inc.        US Customs Brokers             7101 Chino Dr.         El Paso, TX 79915
10483097   Issac M. Boutwell         1815 Camn School LN              Eastview, KY 42752
10483878   J &B Farms          446 Magnolia Hill, PO Box 199             Duncan, MS 38740
10483879   J &S Livestock         P.O. Box 398          Armuchee, GA 30105
10483880   J C Bar Trucking,Inc.         210 Windy Lane           Gatesville, TX 76528
10483881   J R Brown         107 Karakal Dr          Glasgow, KY 42141
10483882   JJLivestock        P.O. Box 202          Darrouzette, TX 79024
10483098   JJLivestock Trucking          PO Box 202           Darrouzett, TX 79024
10483099   J.C. Bar Trucking, Inc.        210 Windy Lane            c/o Charles Graham          Gatesville, TX 76528
10483883   J.C. Powell        Box 1389          Lindale, TX 75771
10483100   J.C. Willis       7449 Greensburg Rd.            Greensburg, KY 42743
10483884   J.D.Nabors        P.O. Box 323           Houston, MS 38851
10483411   JAMES H. HALE             3575 SUMMERWOOD                   OLIVE BRANCH, MS 38654
10483412   JASON GIBSON              114 WALNUT ST              BYRDSTOWN, TN 38549
10483413   JAY MCLEMORE                7567 E 129 RD           HOLDENVILLE, OK 74848
10483115   JC Billingsley        2621 Kino Rd.          Glasgow, KY 42141
10483116   JD Cattle Company, Inc.           1196 Twin Forks Lane            St. Paul, NE 68873
10483414   JERRY THOMPSON                320 E. NEBRASKA               WALTERS, OK 73572
10483514   JF CATTLE           1710 SOUTH 2450 EAST                MALTA, ID 83342
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                                                                 20
10483415   JIM FRITZ           90837 479TH AVE              BUTTE, NE 68722
10483416   JIMMY HARRYMAN                    208 FROST CREEK               GROESBECK, TX 76642
10483417   JOE THOMPSON                 320 E NEBRASKA              WALTERS, OK 73572
10483418   JOHN ROSS              107 SOUTH HIGH STREET                  WAURIKA, OK 73573
10483419   JOHNNY FARRIS                 PO BOX 97          ADDINGTON, OK 73520
10483420   JONATHON ESPARZA                     504 N. JOYNER           WILLOW, OK 73673
10483421   JOPLIN STOCKYARDS VIDEO                      P.O. BOX 634          CARTHAGE, MO 64836−0363
10483950   JR Byars         419 Byars Crossing            Winfield, AL 35594
10483422   JUNIOR HICKS               RT.1          MT.PARK, OK 73559
10483423   JUSTIN POLIFKA                2099 CO RD 70           QUINTER, KS 67752
10483515   JVCO,LLC            11347 BUSINESS PARK CIRCLE                    FIRESTONE, CO 80504
10483885   Jack Roth Trucking            22147 Y Hwy           Boonville, MO 65233
10483101   Jack Roth Trucking            22147 Y Hwy.          Booneville, MO 65233
10483886   Jack Schlessiger          1266 N E 120 Road            Claflin, KS 67525
10483102   Jack Stevens          1121 Chapel Hill Rd.          Morganfield, KY 42437
10483103   Jackie Estel Young            312 Beauty Swamp Rd.            Monroe, TN 38573
10483104   Jackie Young           1336 Claude Jones Road            Edmonton, KY 42129
10483888   Jackie Young           1337 Claude Jones Rd           Edmonton, KY 42129
10483887   Jackie Young           796 Big Springs Rd          Monroe, TN 38573
10483889   Jacob Massey            2713 Tollgate Rd         Petersburg, TN 37144
10483890   James &Roman Elmore                1215 Hudgins Hwy           Summersville, KY 42782
10483105   James G. Sympson              608 Murray's Run Rd.          Bardstown, KY 40004
10483106   James H. Brass           PO Box 777           Coldwater, KS 67029
10483107   James H. Gibson            1990 Columbia Rd.           Edmonton, KY 42129
10483108   James Lee Elmore             1215 Hudgins Hwy            Summersville, KY 42782
10483892   James Nolley           1106 CR56           Myrtle, MS
10483109   James R.Thompson               1300 Ritchie Ln.        Bardstown, KY 40004
10483110   James Robert Flickinger             417 Flickinger Ln.        Glasgow, KY 42141
10483895   Jane, LLC         21767 E. 1580 Rd.            Mt. Park, OK 73559
10483111   Janousek Farms, Inc.            36982 US Hwy 18           Fairfax, SD 57335
10483112   Jared Ross Smith            989 West Black Dot Rd.           Knob Lick, KY 42154
10483897   Jared Smith          989 West Black Dot Rd            Knob Lick, KY 42154
10483898   Jason Farmer Transportation             Jason Farmer         192 County Road 427         Lorena, TX 76655
10483113   Jason Haley          265 Haley Rd.           Watertown, TN 31784
10483899   Jay Buford         108 Glen Oaks Ct            McDonough, GA 30253
10483114   Jay Burford          108 Glen Oaks Rd           McDonough, GA 30253
10462219   Jay Burford          108 Glenoaks Court           McDonough, GA 30223
10483117   Jeff A. Mowers           1200 Blacks Ferry Rd.           Burkesville, KY 42717
10483900   Jeff Mowers           1200 Blacks Ferry Rd           Burkesville, KY 42717
10483902   Jeff Reece         195 Locust Grove Church Road              Knob Lick, KY 42154
10483903   Jeff Young          1299 Willow Grove School Rd              Allons, TN 38541
10483901   Jeff or Josh Pitcock          679 Pitcock Rd         Summer Shade, KY 42166
10417341   Jeffery L. Young           518 Willow Grove School Road             Allons, TN 38541
10483118   Jeffery Lynn Young             518 Willow Grove School Rd.            Allons, TN 38541
10483119   Jerel Smith         819 Black Dot Rd.           Knob Lick, KY 42154
10483120   Jerry Bagby          5360 Hwy. 1464            Greensburg, KY 42743
10483121   Jerry Herald         1191 Oakhill School Rd.            Smiths Grove, KY 42171
10483905   Jerry Jordan         6046 Simmons Bluff Rd             Lebanon, TN 37090
10483122   Jerry Middletom            1108 W. Ridge          McAlester, OK 74501
10483906   Jerry Middleton           1108 West Ridge          McAlester, OK 74501
10483907   Jerry Ollerich         Ollerich Trucking         46884 267 Street         Sioux Falls, SD 57106
10483123   Jerry Wayne Jordan             6046 Simmons Bluff Rd.           Lebanon, TN 37090
10483908   Jerry Wolfe          105 West Shore           Richardson, TX 75080
10483910   Jesse Horseman            1080 Gwinn Island          Danville, KY 40422
10483124   Jesse Phillip Whitlow            5180 Randolph−Goodluck Rd             Summer Shade, KY 42166
10483125   Jesse R. Brown           107 Karakal Dr.         Glasgow, KY 42141
10483126   Jesse W. Simpson             415 Jesse Simpson Rd.          Tompkinsville, KY 42167
10483911   Jessie Simpson           415 Jessy Simpson Road            Tompkinsville, KY 42167
10483912   Jessie Whitlow           5180 Randolph Goodluck Rd              Summer Shade, KY 42166
10483913   Jim Brass         110 N New York St             Coldwater, KS 67029
10483914   Jim F. Bonham,D.V.M.               1735 S Hwy 183          Clinton, OK 73601
10483915   Jim Flickinger          417 Flickinger Lane          Glasgow, KY 42141
10483916   Jim Minor          2105 View Street           Shelbyville, KY 40065
10483917   Jim Mitten Trucking, Inc.             3660 US 40        Oakley, KS 67748
10483127   Jimmie Dale High             1150 Sulphur Lick Rd          Tompkinsville, KY 42167
10483128   Jimmie Rogers, Inc.            5042 Hwy 54          Liberal, KS 67901
10483918   Jimmy Brummett              7594 Hwy 55 South Road            Columbia, KY 42728
10483919   Jimmy Collums             130 CR 409          Houlka, MS 38850
10483129   Jimmy Finchum             4220 Royal Oak Dr           New Albany, IN 47150
10483130   Jimmy Harmon             4028 Greensburg Rd.           Columbia, KY 42728
10483131   Jimmy Hendrick             PO Box 127          Smiths Grove, KY 42171
10483920   Jimmy Hendricks             P.O. Box 127         Smiths Grove, KY 42171
10483921   Jimmy High           Sulphur Lick Rd           Tompkinsville, KY 42167
10483132   Jimmy Manion             107 Indie Circle        Glasgow, KY 42141
10483922   Jimmy McMillen              1096 CR 88         New Albany, MS
10483923   Jimmy Rogers, Inc.            5042 Hwy 54          Liberal, KS 67901
10483924   Jimmy Stapp           1609 Cedar Grove Rd            Greensburg, KY 42743
10483925   Jimmy Sympson              608 Murray Run Rd           Bardstown, KY 40004
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                                                                 20
10483926   Jimmy Thompson              1300 Ritchie Lane          Bardstown, KY 40004
10483927   Jimmy Wayne Kinder              1st State Bank Of Temple           Rt 1 Box 25         Walters, OK 73572
10483928   Jobe Publishing Inc          PO Box 546           Cave City, KY 42127
10483929   Joe Bishop         1198 Country Road 188             Blue Springs, MS 38828
10483933   Joe Kanthak Trucking            48640 161st St          Revillo, SD 57259
10483934   Joey Newton           275 Manton Road            Laretto, KY 40037
10483935   John &Levi Sexton            6813 Old Glasgow Rd             Scottsville, KY 42164
10483936   John Cowherd            Attorney At Law,PC           P.O. Box 268          Mount Vernon, MO 65712
10452731   John D. Thompson             P.O. Box 224          Edmonton, KY 42129
10483937   John Deer Credit           P.O. Box 4450          Carol Stream, IL 60197−4450
10483938   John Doyle Trucking            43787 202nd Street           Erwin, SD 57233
10483939   John Eschbacher           11220 Otterbein Rd.           Laconia, IN 47135
10483133   John L. Page         PO Box 250            Tompkinsville, KY 42167
10483941   John M Page           P O Box 250           Tompkinsville, KY 42167
10483134   John Neagle          2043 Hayes Pondsville Rd.             Smiths Grove, KY 42171
10483135   John Thomas Sexton             3711 Knob Lick−Wisdom Rd.               Knob Lick, KY 42154
10483942   John Thompson            2284 Tompkinsville Rd             Edmonton, KY 42129
10483943   John Toole         9550 Barbee Rd            Hernando, MS 38672
10483944   John Wood           P.O. Box 937           Dalhart, TX 79022
10483945   Johnny Bell         108 N Green St           Glasgow, KY 42141
10483136   Johnny Bell         108 North Green Street            Glasgow, KY 42141
10483946   Jon Washer          1308 Alaska Ave.            Fort Campbell, KY 42223
10483947   Joplin Regional Stockyards            Regular Sale          P.O. Box 634         Carthage, MO 64836−0363
10483137   Joplin Regional Stockyards , Inc.           d/b/a BMCattle Co.           PO Box 634        Carthage, MO 64836
10483138   Joplin Regional Stockyards, Inc.           PO Box 634           Carthage, MO 64836
10483948   Joplin Stockyards Video            Video Sale         P.O. Box 634         Carthage, MO 64836−0363
10483139   Joshua Brian Loftis          460 Stockton Lane            Gainesboro, TN 38562
10483140   Joshua Pitcock          33 Moore Rd           Summer Shade, KY 42166
10483141   Joyce Barnes          1715 Karen Circle           Bowling Green, KY 42104
10483949   Joyce Lamb          600 Princeton St           Providence, KY 42450
10483142   Judy Cebelak          614 Lane Allen Rd            Lexington, KY 40504
10483951   Judy Cebelak          614 Lane Allen Road            Lexington, KY 40504
10483143   Julie Platt      PO Box 164             New Castle, UT 84756
10483952   Junior Hicks         Bank of the Wichitas           Rt.1        Mt. Park, OK 73559
10483144   Junior Martin         1233 Hollow Rd            Glasgow, KY 42141
10483953   Just−a−Burg's          305 N Main St           Marion, KY 42064
10483954   Justin Garrett        2578 E SR 252            Franklin, IN 46131
10483956   K D Farm Services LLC.             Ken Davis          P.O. Box 330         Grandview, TX 76050−0330
10483145   KD Farm Service, LLC              PO Box 330          c/o Ken Davis          Grandview, TX 76050
10483424   KEITH VARNER                621 N. 17TH           FREDERICK, OK 73542
10483426   KENNETH BURTON                   RT. 1 BOX 83           DEVOL, OK 73531
10483427   KENNETH COOK                 P.O. BOX 10           VEGA, TX 79092
10483516   KENNETH TIMMS                 13723 E APPLE RD               ADAMS, NE 68301
10483428   KENNY OGDEN                 1050 W DADE 72             LOCKWOOD, MO 65682
10483429   KENT DONICA                6862 HWY 199            ARDMORE, OK 73401
10483976   KJS Investments           455 County Road 50             Guin, AL 35563
10483981   KU          1 Quality Street         Lexington, KY 40507
10483161   KU          PO Box 539013            Atlanta, GA 30353−9013
10483957   Kansas City Life Insurance Co            P.O. Box 219846            Kansas City, MO 64121−9846
10483958   Keeton Cooper           1397 Upper Hilham Rd              Livingston, TN 38570
10483146   Keith Kilmon           8095 Edmonton Rd             Summer Shade, KY 42166
10483147   Kelly Jeffries        471 Hubbard Harris Rd.             Edmonton, KY 42129
10483959   Kendall Branstetter          6310 S Jackson Hwy             Horse Cave, KY 42749
10483148   Kenergy Corp           6402 Old Corydon Rd             Henderson, KY 42419−0018
10483149   Kenneth Bryant           6565 Russell Springs Rd.            Columbia, KY 42728
10483150   Kenneth Cowles            1690 Chalybeate School Rd.             Bowling Green, KY 42101
10483151   Kenneth Froedge            207 Tuney Geralds Rd.            Edmonton, KY 42129
10483960   Kenneth Pritchard           805 Short Cut Road           Horse Cave, KY 42749
10483152   Kenneth Sanders            2487 Win School Rd.            Glasgow, KY 42141
10483961   Kenneth Sanders            2487 Winn School Rd            Glasgow, KY 42141
10483962   Kenneth Williams            677 County Road 373            Shannon, MS 38868
10483963   Kenny Nolley           1082 County Road 56            Myrtle, MS 38650
10483964   Kenny Plowman             1010 Tattle Branch Rd.           Chilhowie, VA 24319
10483154   Kenny Plowman             Centurylink          PO Box 1319           Charlotte, NC 28201
10483155   Kenny Plowman             Centurylink          PO Box 1319           Charlotte, NC 28201−1319
10483965   Kent Donica          6862 St Hwy 199            Ardmore, OK 73401
10483966   Kentuckiana Animal Clinic             1500 East 18th Street         Owensboro, KY 42303
10483967   Kentuckiana Livestock Market              P O Box 774          Owensboro, KY 42302
10483158   Kentucky American Water              PO Box 371880            Pittsburgh, PA 15250−7880
10483968   Kentucky American Water              PO Box 578           Alton, IL 62002−0578
10483969   Kentucky Proud            100 Fair Oaks          Frankfort, KY 40601
10483970   Kerry Gilley         511 Wisdom Rd             Edmonton, KY 42129
10483971   Kevin Manthey            30038 361 Ave           Bonesteel, SD 57317
10483972   Kevin Marsh           1770 Old Lexington Rd            Cave City, KY 42127
10483973   Kevin Seatz         Little Dry Run Rd            Butler, TN 37640
10483974   Keywood Animal Clinic, LLC               P.O. Box 2195           21492 Vances Mill Rd.         Abingdon, VA 24211
10483975   Kilgore Truck          Satha Kilgore          4425 Gray Drive          Macomb, MO 65702
10483977   Kness Trucking Inc.           P.O. Box 463          Chadwick, IL 61046
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                                                                 20
10483159   Kness Trucking, Inc.          PO Box 463          c/o Judith Kness        Chadwick, IL 61014
10483160   Knoxville Livestock Auction Center            8706 Mascot Road           Knoxville, TN 37924
10483978   Knoxville Lvst. Center, Inc.         P.O. Box 167          Mascot, TN 37806
10483979   Korth Feeding         86678 560 Ave           Randolph, NE 68771
10483980   Kropf Farms         17718 B Road           Delta, CO 81416
10483982   L H Gibson         8310 Subtle Rd          Edmonton, KY 42129
10483983   L S Supply, Inc.         1202 West Stockton St.          Edmonton, KY 42129
10483162   LFCattle       8365 W. FM 217             c/o Troy Lathan &Joe Foote           Gatesville, TX 76528
10483984   LLCattle        The National Bank           Gatesville, TX 76528
10483985   L.W. Miller Trucking Inc.           94 N. 400 West         No. Salt Lake, UT 84054
10483430   LACY BROTHERS                 2873 LUELLA ROAD               SHERMAN, TX 75090
10483431   LARRY NICHOLS                1008 13TH STREET             SNYDER, OK 73566
10483172   LC Cattle Co.        Cox           PO Box 679          Wichita, KS 67201
10483173   LC Cattle Co.        Verizon Wireless           PO Box 105378           Atlanta, GA 30348
10483432   LEN MILLER            1949 ROOSEVELT RD 1 NORTH                     PORTALES, NM 88130
10483433   LHL PARTNERSHIP                 216 PASEO DE VIDA ST               ALTUS, OK 73521
10483434   LONE OAK FEEDERS INC.                  P.O. BOX 1949            STEPHENVILLE, TX 76401
10483435   LUIS CERNOCH               6711 GREEN MEADOW LANE                     TERRELL, TX 75160
10483436   LUKE HOOVER                1540 TRESS SHOP RD              TRENTON, KY 42286
10483188   LW Miller Livestock, Inc.           94 N 400 W          North Salt Lake, UT 84054
10483988   Lang Trucking          Lynn Lang          PO Box 187           Jackson, MO 63755
10483989   Larry &Pat Summers             493 Dickerson Ranch Ln            Conway, MO 65632
10483163   Larry Bragg        305 Bradshaw Rd.            Austin, KY 42123
10483990   Larry Carter       6007 Lone Star Ridge Rd             Edmonton, KY 42129
10483991   Larry Congleton          5502 Campbellsburg Rd.            Campbellsburg, KY 40011
10483165   Larry Howard          A T &T           1217 North Rushcreek Road           Salem, IN 47167
10483164   Larry Howard          PO Box 824           New Albany, IN 47150
10483992   Larry Kirby        1441 Ft. Chiswell Rd           Max Meadows, VA 24360
10483993   Larry Memmott           State National Bank, Las Cruces           P.O. Box 1542          Deming, NM 88031
10483994   Larry Nichols        Bank of the Wichitas           1008 13th Street        Snyder, OK 73566
10483998   Larry Williams         225 County Road 141             Okolona, MS 38860
10483997   Larry Williams         826 Grady Williams R            Decherd, TN 37324
10483167   Larry Woody          2245 Sanders Ridge Rd.            Columbia, KY 42728
10483999   Larry Worley         187 Worley Loop            Monroe, TN 38573
10484000   Las Animas Transfer           242 Bent Avenue           Los Animas, CO 81054
10483168   Las Animas Transfer Inc.           242 Bent Ave.         Las Animas, CO 81054
10483169   Laura Arrieta        1129 Stockwell Ln.           El Paso, TX 79902−2151
10484003   Laurel Livestock          PO Box 606          London, KY 40743
10484004   Lauri Hogenes         dba Chase Cattle Company              9621 S. 156th Place         Gilbert, AZ 85234
10484005   Laurie Livestock LLC            Bob Laurie        1404 Atlantic Crossing          Fenton, MO 63026
10509706   Lawrence County Treasurer            916 15th Street, Ste. 27         Bedford, IN 47421−3852
10483170   Lawrence O. Richard            3151 Edmonton Rd.           Columbia, KY 42728
10484006   Lawrence Richard            3151 Edmonton Rd           Columbia, KY 42728
10484007   Lazy Y Cattle &Transportation            Marty Bundy          P.O. Box 1249          St George, UT 84771
10483174   Leland Douglas Glass            1814 Hiseville Park Rd.         Cave City, KY 42127
10484008   Leland Glass        1814 Hiseville Park Rd            Cave City, KY 42127
10484009   Len Miller       Ag New Mexico Of PCA                1949 Roosevelt Rd 1 North           Portales, NM 88130
10483175   Lenice H. Gibson           8310 Subtle Rd.         Edmonton, KY 42129
10483176   Lenny Asbury          650 Mahogany Lane             Hardyville, KY 42746
10484010   Leon Bogard         P.O. Box 403           McAlester, OK 74502
10483177   Leon Bogard Trucking             2003 N. Spruce         McAlester, OK 74501
10484011   Leon Isenberg         4942 Edmonton Road              Tompkinsville, KY 42167−9411
10483178   Leonard Clifton Smith           1133 Brown Road           Park City, KY 42160
10484012   Leonard Smith          1321 Brown Rd           Park City, KY 42160
10483179   Lewis Randall Richard            2557 Richard Hollow Rd           Columbia, KY 42728
10483180   Linda C. Wilson          399 Weed−Keltner            Edmonton, KY 42129
10484014   Linda Wilson         399 Weed Keltner Rd             Edmonton, KY 42129
10483181   Linden Stockyard Inc.           PO Box 480160           Linden, AL 36748
10484015   Lindsay Farm         Lipscomb Bros LS Mkt,inc.             P.O. Box 383          Como, MS 38619
10483182   Lipscomb Bros Livestock Market             PO Box 383           Como, MS 38619
10484016   Livestock Dispatch Service           Steve Hendershot          P.O. Box 133         La Porte City, IA 50651
10483183   Livingston Stockyard           PO Box 398          c/o William Tinsley         Livingston, AL 35470
10484017   Livingston Stockyards           P.O. Box 398         Livingston, AL 35470
10484018   Loftis Farm        460 Stockton Lane           Gainesboro, TN 38562
10484019   London Impressions            921 Beasley Street Suite 220         Lexington, KY 40555−5467
10484020   Long Farm         992 Morrison Park Rd            Glasgow, KY 42141
10483184   Long Farms         992 Morrison Park Rd.            c/o Keith Long         Glasgow, KY 42141
10483185   Louis Cernoch, Jr.          6711 Green Meadow Ln.            Terrell, TX 75160
10484021   Louisiana Secretary Of State          UCC Division/Central Registry           P.O. Box 94125          Baton Rouge, LA
           70804−9125
10484022   Louisville Geek         3900 Shelbyville Rd           Suite 12        Louisville, KY 40207
10483186   Louisville Geek         3900 Shelbyville Rd #12           Louisville, KY 40207
10483187   Loyd Dale Page          9253 Edmonton Rd.             Summer Shade, KY 42166
10484023   Luis Cernoch         American National Bank             6711 Green Meadow Lane             Terrell, TX 75160
10483189   Lynn D. Hirsch          502 Locust Lane          Shelbyville, KY 40065
10484024   Lynn Hirsch         502 Locust Lane           Shelbyville, KY 40065
10484025   Lytle Street Development LLC             1416 Lytle Street        Louisville, KY 40203
10483437   M &H LAND &CATTLE                   RT. #1        CHATTANOOGA, OK 73528
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                                                               20
10484026   M W Borda Trucking            Mark Borda         P O Box 461         Tabernash, CO 80478
10484027   M. Larson Transfer         800 County Rd C          Oakland, NE 68045
10484028   M.C. Merritt       1495 CR 51           Myrtle, MS 38650
10483438   MARK FREEMAN                227 70 RD         PONCA CITY, OK 74604
10483439   MARK GLASGOW                 ROUTE 1, BOX 236A             TEMPLE, OK 73568
10483440   MARK VAUGHN                2441 POLLY BELL ROAD               PHEBA, MS 39755
10483200   MCI        27732 Network Place           Br 15 − Lexington         Chicago, IL 60673
10483441   MCPHAIL LAND &CATTLE                   ROUTE 1, BOX 106             MT PARK, OK 73559
10484060   MFA Oil &Propane            2738 E Kearney St         Springfield, MO 65803
10483442   MIDWESTERN CATTLE MARKETING                        2853 RD 121         SIDNEY, NE 69162
10483443   MIKE &CLAY GAINES                 133 TAFF ROAD            TAYLORSVILLE, GA 30178
10483444   MIKE CARTER             3899 N 372 RD           HOLDENVILLE, OK 74848
10483445   MIKE CRIBBS           1360 E 410TH RD             BOLIVAR, MO 65613
10483446   MITCH WORRELL                20404 E COUNTY RD 166              ALTUS, OK 73521
10483447   MOCK BROTHERS CATTLE CO.                    P.O. BOX 858          ALTUS, OK 73521
10483448   MOSELEY CATTLE CO &1ST BANK                      25934 AL HWY. 25           FAUNSDALE, AL 36738
10483449   MOSLEY CATTLE AUCTION LLC                    P.O. BOX 548           BLAKELY, GA 39823
10483517   MULL FARMS &FEEDING                   RT. 1 BOX 74          PAWNEE ROCK, KS 67567
10484030   Mac's Vet Supply, LLC           601 Front St        Monett, MO 65610
10484029   Macon Stockyard          P O Box 476         Macon, MS 39341
10483190   Macon Stockyard, Inc.          PO Box 476; 12409 Hwy 145            Macon, MS 39341
10483191   Madison A. Welch           4030 N. 900 E.        Lafayette, IN 47905
10484031   Madison Welch         4030 N. 900 E.          Lafayette, IN 47905
10483192   Marcia Cloud        2078 Whitney Woods Rd             Cave City, KY 42127
10484032   Marcia Cloyd        2078 Whitney Woods Rd             Cave City, KY 42127
10462217   Marion Bradford         197 Hidden Lake Rd.           Hendersonville, TN 37075
10484033   Marion Bradford         P O Box 771          Glasgow, KY 42141
10484034   Marion Miller        30143 Kapok Dr           Stark City, MO 64866
10483193   Marion Water &Sewer            217 South Main Street         Marion, KY 42064
10484035   Mark Allen Wedel          Bank of Kremlin          Box 144        Ringwood, OK 73768
10484036   Mark Edmonds          1177 Beltline Rd Ms 5001m            Coppell, TX 75019
10484037   Mark Faughn         10595 Hwy 902E            Fredonia, KY 42411
10483194   Mark Faughn         A T &T           10595 Hwy 902 E          Fredonia, KY 42411
10484038   Mark Guthrie        5120 Prall Hill Rd         Henryville, IN 47126
10484039   Mark Shirley       2127 Cave Ridge New Liberty Rd              Knob Lick, KY 42154
10483195   Mark W. Shirley         2127 Cave Ridge New Liberty Rd            Knob Lick, KY 42154
10483196   Mark Wayne Richmond             5121 Oak Ridge Rd           Ravenden Springs, AR 72460
10484040   Mark White        PO Box 306            Guntown, MS 38849
10484041   Maron Water &Sewer Dept.            217 South Main St         Marion, KY 42064
10484042   Martin Bros       3160 N. Jackson Hwy            Canmer, KY 42722−9437
10484044   Martin Farms Inc         c/o Bobby Martin          3160 N Jackson Hwy          Canmer, KY 42722
10484045   Matt Eller      PO Box 570            Okolona, MS 38860
10484046   Matt Williams        269 Lawrence 2140            Sarcoxie, MO 64862
10483197   Matthew Cameron White             577 Jamestown Hwy.          Livingston, TN 38570
10484047   Matthew Parrish Gibson           7827 Tandy Rd.         Lanesville, IN 47136
10484048   Matthew White         577 Jamestown Hwy             Livingston, TN 38570
10484049   Maxie Harlan        402 W 5th St.          Tompkinsville, KY 42167
10484050   Maxine Morgan          3965 Lawson Bottom Rd             Burkesville, KY 42717
10483198   Maxine Morgan Estate           3965 Lawson Bottom Rd.           Burkesville, KY 42717
10484051   Maydel Whitlow          Philli Whitlow Rd          Summer Shade, KY 42166
10483199   Maydell Whitlow          634 Philip Whitlow Rd.          Summer Shade, KY 42166
10484052   McCubbin Farm          2075 Spurlington Rd           Campbellsville, KY 42718
10484054   McDonald Veterinary Clinic           7749 East Us 150         Hardinsburg, IN 47125
10483201   McPhail Land &Cattle           15888 N. 2235 Rd.         Mt. Park, OK 73559
10484055   McPhail Land &Cattle           Stockman's Bank         Route 1, Box 106         Mt Park, OK 73559
10484058   Meridian Stockyard          P.O. Box 581        Meridian, MS 39302−581
10483202   Meridian Stockyards, Inc.         PO Box 581          Meridian, MS 39305
10483203   Metcalf County Sheriff's Department          PO Box 371          Property Tax Division       Edmonton, KY
           42129
10484059   Metcalfe Co Sheriff Dept          Property Tax Division        P.O. Box 371        Edmonton, KY 42129
10483204   Michael Emberton          1491 Sulphur Lick Rd.          Tompkinsville, KY 42164
10576614   Michael J. Walro, Trustee for         East West Trucking Co., LLC          426 East Main Street     Madison, IN
           47250
10484061   Michael Page        1310 County House Rd             Tompkinsville, KY 42167
10483205   Michael Perry Travis         208 Oak Street         Marion, KY 42064
10483206   Michael Wade Loula           Rt. 1 Box 50        Colony, OK 73021
10483207   Mid State Stockyards, LLP          PO Box 210          Letohatchee, AL 36047
10484062   Mid State Waste        P.O. Box 2068           Glasgow, KY 42142
10484063   Mid−Kentucky Livestock Market             P.O. Box 134        Upton, KY 42784
10483209   Mid−South Livestock Center, LLC            PO Box 3033          Lebanon, TN 37088
10484064   Midwestern Insurance Alliance           PO Box 436909          Louisville, KY 40253−6909
10484065   Mike Bradbury         Texas Bank          4304 John Reagan          Marshall, TX 75670
10484066   Mike Burgess        360 Cherokee Road            Lucas, KY 42156
10484067   Mike Loula        Farm Credit          Colony, OK 73021
10484069   Mike Luke        4845 Cook Boatdock Rd             Baxter, TN 38544
10483210   Mike Luke        4845 Cookeville Boatdock Rd.            Baxter, TN 38344
10484070   Mike Smith        339 Euclatubba Rd           Guntown, MS 38849
10484071   Mike Travis       208 Oak Street          Marion, KY 42064
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10484072   Mike White         177 Breeding Road            Edmonton, KY 42129
10484073   Miles Spurling        2120 Spurlington Rd            Campbellsville, KY 42718
10484074   Milligan Farms         590 Mud College            Hartford, KY 42347
10483211   Milligan Farms         651 Grassy Springs Rd.           Columbia, KY 42728
10484075   Milton Shepard         625 W Egypt Rd            Columbia, KY 42728
10483212   Mitchell Kinser         2991 Jim Glover Rd.           Glasgow, KY 42141
10484076   Mitchell Kinzer         2991 Jim Glover Rd           Glasgow, KY 42141
10484077   Mitchell Livestock Auction, Inc          P.O. Box 516         Mitchell, SD 57301
10484078   Montana Secretary Of State          Linda McCulloch           P O Box 202801           Helena, MT 59620−2801
10484079   Monte Haiar         R.R.1, Box 2          Fairfax, SD 57335
10484080   Montgomery Stock Yard, Inc.            P.O. Box 250108           Montgomery, AL 36125−0108
10484081   Moose Sulivan          5241 Rickman Rd            Cookeville, TN 38506
10483213   Moose Sullivan (Leonard)           5241 Rickman Rd.           Cookeville, TN 38506
10484082   Morgan Livestock LLC           Randall Morgan            P.O. Box 196         Trenton, KY 42286
10483214   Mosley Cattle Auction, LLC           1044 Arlington Ave.           Blakely, GA 39823
10483215   Moulton Stockyard, Inc.         13130 AL Hwy 157             c/o William Whiteshell         Moulton, AL 35650
10484083   Moulton Stockyards          13130 Alabama Hwy 157              Moulton, AL 35650
10484084   Mountain Valley          615 Walnut Street          Jeffersonville, IN 47130
10484085   Mulder Trucking Inc         P.O. Box 205           Doon, IA 51235
10483216   Myles Spurling         2120 Spurlington Rd.           Campbellsville, KY 42718
10483450   NORTHEAST GEORGIA LIVESTOCK                        P.O.BOX 80062           ATHENS, GA 30608
10483451   NORTHERN LIVESTOCK VIDEO                      2443 N FRONTAGE RD                BILLINGS, MT 59101
10483519   NU−TECHNOLOGIES                 9203 VALARETTA DR.                 GRETNA, NE 68028
10483518   NUTECH, INC            518 ROAD 9            SCHICKLEY, NE 68436
10484086   Nance Floral Shoppe, Inc.         624 E. Spring St.         New Albany, IN 47150
10484087   Nash, Cleveland, &Godfrey Dvm − Psc              3260 Harrodsburg Road            Danville, KY 40422
10484088   Nathan Acree         175 Donald Hurt Road            Summer Shade, KY 42166−7600
10484089   Nathan Nichols         21767 E. 1580 Rd.           Mt. Park, OK 73559
10484090   Natural Bridge Stockyard          1987 Co Rd 1422           Cullman, AL 35058
10483217   Natural Bridge Stockyard          PO Box 401           Natural Bridge, AL 35577
10484091   Nelson Trucking Inc         Jefferey Nelson          2547 Cold Spring Road           Mountain City, TN 37683
10484092   New Albany Municipal Utilities           311 Hauss Square Rm 309            City County Building        New Albany, IN
           47150
10483218   New Albany Municipal Utilities           PO Box 909          New Albany, IN 47151
10484093   Nichols Livestock         21767 E. 1580 Rd.           Mt. Park, OK 73559
10484094   Nick's Pest Management           80 Curtis Mine Rd          Madisonville, KY 42431
10484095   Nolan Henderson          P.O. Box 64          Tehuacana, TX 76686
10484096   Nora P. Dean         916 Thunderbird           El Paso, TX 79912
10484097   North Florida Farmers L.S.          PO Box 3235           Lake City, FL 32056−3235
10483219   Northern Livestock Video Auction            2443 N, Frontage Rd.          Billings, MT 59101
10483220   Northwest Alabama Livestock Auction              PO Box 459          Russellville, AL 35653
10483452   OMAN CATTLE FEEDERS                   ROUTE 1, BOX 94              AVOCA, TX 79503
10484098   Oaklake Cattle Company           P.O. Box 1284           Okeechobee, FL 34973
10484099   Ocala Livestock Market          P.O. Box 539           Lowell, FL 32663
10483221   Ocala Livestock Market          PO Box 539           c/o Michael A. Yeomans           Lowell, FL 32663
10483222   Oce Imagistics, Inc.       7555 E Hampden Avenue, Suite 200               Denver, CO 80231
10484100   Office Depot         PO Box 88040           Chicago, IL 60680−1040
10484101   Ohio Dept. Of Agriculture          Division Of Animal Industry           8995 East Main Street       Reynoldsburg, OH
           43068
10483223   Okeechobee Livestock Market, Inc.            PO Box 1288           Okeechobee, FL 34973
10484102   Okeechobee Livestock Mkt.            P.O. Box 1288          Okeechobee, FL 34973
10484103   Orender Truck Line, Inc         7562 West 349th Street           Lebo, KS 66856
10484104   Osbond Copher           1280 Peasticks Rd          Owingsville, KY 40360
10483224   Ozark Electric Cooperative          PO Box 420           Mount Vernon, MO 65712−0420
10484105   Ozark Electric Cooperative, Inc          P.O. Box 420         Mt. Vernon, MO 65712−0420
10484106   Ozark Regional Stockyard Inc           P.O. Box 928          West Plains, MO 65775
10483225   Ozarks Regional Stockyards, Inc           PO Box 928          West Plains, MO 65775
10483453   PATRICK L. GAINES              ROUTE 2, BOX 144A               WAURIKA, OK 73573
10483454   PAUL LANGFORD               ROUTE 1, BOX 57               WALTERS, OK 73572
10484114   PBI Bank         P.O. Box 549          Glasgow, KY 42142
10483455   PIEDMONT LIVESTOCK, INC.                   PO BOX 217           ALTAMAHAW, NC 27202
10483456   PRODUCERS CATTLE AUCTION                      7441 JOHNSON COURT                 MOBILE, AL 36695
10483457   PRODUCERS LIVESTOCK                   230 WEST CENTER, PO BOX 540477                   N. SALT LAKE CITY, UT
           84054
10484107   Pacific Life Insurance Co.        Tri State Regional Life Office          625 Eden Park Dr #850        Cincinnati, OH
           45202
10484108   Paco Anuez         Anuez Trucking           P.O. Box 640          Okeechobee, FL 34972
10484109   Pam Fergurson          2535 Meeting Creek Rd            Eastview, KY 42732
10483226   Pamela Gibson          8843 Tandy Rd           Lanesville, IN 47136
10484110   Parks Livestock Inc        Box 429          Oakwood, IL 61858
10484111   Paul George         70 Roberts Road          Watertown, TN 37184
10484112   Paul Kropf        574 Blue Bayou Road S             Nashville, AR 71852
10484113   Paul Langford         Farm Service Agency, Waurika             Route 1, Box 57         Walters, OK 73572
10484115   Peggy Cary         1321 Brown Rd            Park City, KY 42160
10483227   Peggy Smith Carey          1321 Brown Road             Park City, KY 42160
10484117   Peoples Livestock Auction          P.O. Box 268           Houston, MS 38851
10483228   Peoples Stockyard         PO Box 3064           Cookeville, TN 38502
10484118   Phil Clevenger        10653 Hwy 127            Sweet Springs, MO 65351
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                                                                  20
10484119   Phil Hewitt        2350 Wilkes Hollow Rd            Lynnville, TN 38472
10483229   Phil Mulder Trucking, Inc.          PO Box 205 Main St.           Doon, IA 51235
10483230   Philip Whitlow         634 Philip Whitlow Rd.           Summer Shade, KY 42166
10483231   Phillip E. Martin        6853 Fairview Rd.          Cookeville, TN 38501
10484120   Phillip Gray        3448 Park City Bon Ayr Rd             Park City, KY 42160
10483232   Phillip L. Richey         111 J.W. York Rd.          Scottsville, KY 42164
10484121   Phillip Martin Livestock          6853 Fairview Road          Cookeville, TN 38501
10483233   Phillip Nathan Acree          175 Donald Hurt Rd.           Summer Shade, KY 42166
10484122   Phillip Richey        111 York Rd          Scottsville, KY 42164
10484123   Phillip Sims Trucking LLC            35147 County Road 42           Otis, CO 80743
10483234   Phillip Taylor Reed          21 Reed Rd.        Foraker, OK 74652
10484124   Phillip Whitlow         476 P Whitlow Road            Summer Shade, KY 42166
10483235   Phillip's Farms        560 Monterey Hwy.           c/o Terry H. Phillips, Jr.       Livingston, TN 38570
10483236   Piedmont Livestock Inc.           PO Box 217          c/o Joseph R. Jones        Altamahaw, NC 27202
10484125   Pierce Lane        P.O. Box 53          Benton, AL 36785
10484126   Pine Ridge Farm          1160 The Ridings          Winchester, KY 40391
10484127   Platt Livestock, LLC          P.O. Box 164         New Castle, UT 84756
10484128   Poe Brothers         8171 Highway 41           Pontotoc, MS 38863
10484129   Pontotoc Stockyard          P.O. Box 1026          Pontotoc, MS 38863−0817
10483238   Pontotoc Stockyard          PO Box 1026          c/o Ron Herndon           Pontotoc, MS 38863
10484131   Prime Time Express LLC             Brian       850 S. Dakota Road           Corsica, SD 57328
10484132   Producers Vet Supply           1028 Story Ave          Louisville, KY 40206
10484133   Pruitt Farms        Kyle Pruitt        4215 F M 929           Gatesville, TX 76528
10484134   Pulaski Livestock          PO Box 1216         609 W Shoal St           Pulaski, TN 38478
10484135   QBE Insurance Corporation            Administrative Service Center          PO Box 90702          Bellevue, WA
           98009−0702
10484136   Quill        PO Box 37600           Philadelphia, PA 19101−0600
10484137   R Bar Ranch Trucking LLC             701 South Main          Yates Center, KS 66783
10484138   R C Buckley          3096 Pinyon Place          Grand Jct., CO 81504
10484139   RJTrucking         Ronald Sexton          1200 Highway 1808             Monticello, KY 42633
10484140   R.D. Lane         370 Maple Grove Lane            Munfordville, KY 42765
10483458   RAFTER K FARMS                116 WILD LIFE RD.             BUFFALO, MO 65622
10483459   RALPH HOODENPYLE                   ROUTE 3, BOX 218             WALTERS, OK 73572
10483460   RANDY HALSTED                 RT.2, BOX 85          MT. VIEW, OK 73062
10483246   RD Lane         370 Maple Grove Lane            Rowletts, KY 42765
10483461   RICKY BEARD              ROUTE 1, BOX 36K               DEVOL, OK 73531
10483462   RITTER FEEDYARD                 1376 10TH ROAD             BEEMER, NE 68716
10483463   RIVER BY CATTLE                1420 SYCAMORE AVE                 CORSICANA, TX 75110
10483464   ROANOKE STOCKYARDS,INC.                     P.O. BOX 307           ROANOKE, AL 36274
10483465   ROBERT DOBBS                RR 1, BOX 207          TEMPLE, OK 73568
10483466   ROBERT NICHOLS                21767 E. 1580 RD.           MT. PARK, OK 73559
10483468   RODNEY ANDRETTI                  BOX 254         SAUTO, TX 76472
10483469   ROY BARTLING               203 SOUTH MAIN               WAURIKA, OK 73573
10484141   Rachael Phelps         3133 Lawson Bottom Rd              Burkesville, KY 42717
10483239   Rachel Phelps         3079 Lawson Bottom Rd.             Burkesville, KY 42717
10484143   Rain And Hail LLC            PO Box 14490          Des Moines, IA 50306−3490
10484144   Randall C. Spurling Trucking           Randall C. Spurling         2120 Spurlington Rd.         Campbellsville, KY
           42718
10484145   Randall Ellis        Ellis Livestock Hauling         5359 Mt. Hebron Road            Lancaster, KY 40444
10484146   Randall Richards          2557 Richard Hollow Rd            Columbia, KY 42728
10464561   Randall Spurling Trucking           2120 Spurling Rd.          Campbellsville, KY 42718
10483240   Randall Spurling Trucking           2120 Spurlington Rd.          Campbellsville, KY 42718
10483241   Randy Carden, Inc.          376 Wallis Rd.         Villa Rica, GA 30180
10484148   Randy Gray          60051 Stonewall Road           Amory, MS 38821
10484150   Randy Hodge Livestock, Inc            P.O. Box 627          Newport, TN 37822
10484151   Randy Hoover And Son             3973 St Rd 14          West Plains, MO 65775
10484152   Randy Lloyd          P.O. Box 390          Blackwell, TX 79506
10483242   Randy Nelson          208 Butler St.        Columbia, KY 42728
10484153   Randy Richey          111 York Rd          Scottsville, KY 42164
10483243   Randy Richey          500 J.W. York Rd.          Scottsville, KY 42164
10483244   Randy Roberts          5055 W. Swamp Rd.            Winchester, OH 45697
10484154   Randy Sherrard          2763 Oak Hill Rd.         Sonora, KY 42776−9438
10484155   Rayburn Smith          103 Smith Thomas Road             Natchitoches, LA 71457
10484156   Razorback Farms Of Missouri            131 Industrial Park Dr, Ste #3         Hollister, MO 65672
10483245   Razorback Farms of Missouri            131 Industrial Park Dr. Suite 3        c/o Dane Braden         Hollister, MO
           65672
10467586   Reiter Trucking         324 Elm St         Hereford, TX 79045
10440153   Reps Dispatch LLC            16150 MCR 19           Fort Morgan, CO 80701
10484157   Republic Bank &Trust Co            P.O. Box 70749           Louisville, KY 40270
10483247   Republic Bank &Trust Company              661 S. Hurstbourne Parkway            PO Box 70749         Louisville, KY
           40222−5040
10534761   Republic Bank and Trust Company             661 South Hurstbourne Parkway             Louisville, KY 40222−5040
10484158   Rex Bunch          P O Box 212          Edmonton, KY 42129
10484159   Rex Elmore          1817 Tobacco Rd           Glasgow, KY 42141
10483248   Richard Banks          400 Johnson Cemetary Rd.            Columbia, KY 42728
10484160   Richard Banks          400 Johnson Cemetery Rd             Columbia, KY 42728
10483249   Richard Hope          3000 Mt. Moriah Rd.           Summer Shade, KY 42166
10484161   Richard Hope          Kaye Hope          3000 Mt Moriah Rd            Summer Shade, KY 42166
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                                                                 20
10484162   Richard Lyle         8627 New Glasgow Rd             Scottsville, KY 42164
10483250   Richard Rivers Trucking           11510 Tanner Williams Rd.           Lucedale, MS 39452
10483251   Richard Ross         2463 Dragstrip Rd.          Tompkinsville, KY 42167
10484164   Richard Turner          11729 Burkesville Hwy           Summer Shade, KY 42166
10484166   Richardson, Inc          P.O. Box 172         Lucerne, CO 80646
10484167   Richey Melson           2628 Melson Ridge Rd            Columbia, KY 42728
10483252   Richie Melson          2628 Melson Ridge Rd.            Columbia, KY 42728
10484168   Richmond Farm             Mark Richmond          5121 Oak Ridge Road            Ravenden, AR 72460
10484169   Richy Robins          250 Neals Creek Road           Stanford, KY 40484
10484170   Ricky Ross         2463 Drag Strip Rd          Tompkinsville, KY 42167
10440125   Rita Cravens         1525 Dogwalk Rd.            Alpine, TN 38543
10483253   River Region Propane Gas            PO Box 2250          Paducah, KY 42002
10483254   Roanoke Stockyard, Inc.           1009 Chestnut St.; PO Box 307           Roanoke, AL 36274
10484172   Roberson Transportation, Inc.           P.O. Box 84        Moffett, OK 74946
10484173   Robert Alberson           215 Landmark Lane           Hilham, TN 38568
10470005   Robert Brown           325 Flat Lick Lane         Herndon KY 42236
10483255   Robert Douglas Alberson            Landmark Ln.          Hillman, TN 38568
10484174   Robert Hyde          937 Phillips Lane         Franklin, KY 42134
10484175   Robert M. Rodenberger, Jr.           9009 North May Ave           Sutton Place #171       Oklahoma City, OK
           73120
10484176   Robert Nichols          Bank of Wichitas &Legends Ban             21767 E. 1580 Rd.        Mt. Park, OK 73559
10484177   Robert Rawls Livestock            P.O. Box 3220         Brookhaven, MS 39603
10484178   Robert Sprouls          S &S         395 Bakerton Road          Bakerton, KY 42711
10484179   Rockin M Farms LLC              Michael Market Jr.        12041 Hwy 136 East          Henderson, KY 42420
10484180   Rod Case         P.O. Box 108           Flemingsburg, KY 41041
10483256   Rodney &Judy Burgess             4457 Peters Creek Rd.         Austin, KY 42123
10484182   Rodney Burgess &Judy Burgess              4457 Peters Creek Rd          Austin, KY 42123
10483257   Rodney Lane Richardson             376 South Jackson Hwy.           Hardyville, KY 42746
10484183   Rodney Richardson            376 S Jackson Hwy           Hardyville, KY 42746
10484184   Roger Burris         1414 Love Knob Rd            Knob Lick, KY 42154
10483258   Roger Dale Thomas             199 Rhoton Cave Rd.          Tompkinsville, KY 42167
10483259   Roger P. Burris          1414 Love Knob Rd.          Knob Lick, KY 42154
10483260   Roger Payne          115 Beverly Drive          Glasgow, KY 42141
10484185   Roger Thomas           199 Rhoton Cave Rd           Tompkinsville, KY 42167
10484186   Roger Turner          10060 Glasgow Rd           Mt Hermon, KY 42157
10483261   Roger Turner          9046 Old Glasgow Rd.           Mt. Hermon, KY 42157
10483262   Rolando Acotsa−Reza             PO Box 503         Alliance, NE 69301
10484187   Ron Neufeld          5590 NE 157th Terr           Williston, FL 32696
10483263   Ron Neufeld Trucking            5590 NE 157th Terr          Williston, FL 32696
10484188   Ron Rabich         5920 Dry Creek Rd            Elk Horn, KY 42733
10483264   Ronald Rabich           5920 Dry Creek Road           Elk Horn, KY 42733
10484189   Ronnie Geralds           13216 Center Point Rd          Tompkinsville, KY 42167
10484190   Ronnie Lemons            HC 81, Box 287          Lewisburg, WV 24901
10483265   Ronnie Reiter         324 Elm Street         Hereford, TX 79045
10484191   Ronnie Reiter Trucking           Ronnie Reiter         324 Elm         Hereford, TX 79045
10484192   Ronnie Sizemore            9871 S.E. 22nd Street        Webster, FL 33597
10483266   Roy Anthony Depolitte            112 Hull Rd.        Monroe, TN 38573
10484193   Roy Blythe         210 R Blythe Rd           Summer Shade, KY 42166
10483267   Roy Dee Blythe           210 Roy Blythe Rd.          Summer Shade, KY 42166
10484194   Roy Depolitte         112 Hall Rd          Monroe, TN 38573
10483268   Roy Kinslow          1844 Dripping Springs           Glasgow, KY 42141
10484195   Roy Kinslow          1844 Dripping Springs Rd            Glasgow, KY 42141
10484196   Roy Leffler        4235 Rothrock Mill Road Nw              Depauw, IN 47115
10483269   Roy Pace        720 Judd Road            Edmonton, KY 42129
10483270   Roy Starnes         398 Starnes Rd.          Mt. Hermon, KY 42157
10484198   Roy Starnes         8300 Clasgow Rd            Mt Hermon, KY 42157
10484199   Royal Beef        &Nations Bank            11060 N. Falcon Rd.          Scott City, KS 67871
10483271   Royal Beef        11060 N Falcon Rd            Scott City, KS 67871
10484200   Rts Livestock Hauling           454 Blackhawk Rd.          Galens, MO 65656
10484201   Russell Bros        4193 Polar Grove School Rd            Greensburg, KY 42743
10483272   Russell Bros.        4193 Poplar Grove School Rd.            Greensburg, KY 42743
10483273   Russell Spradin Farm           766 Bishop Rd         Glasgow, KY 42141
10484202   Russell Spradlin          766 Bishop Rd         Glasgow, KY 42141
10483274   S &S Cattle        407 Bakerton Rd.           Burkesville, KY 42717
10484203   S &S Cattle        Attn: Robert Sprouls          375 Bakerton Rd          Bakerton, KY 42711
10484204   S &T Trucking           P.O. Box 875         Ranchester, WY 82839−0875
10483275   STTrucking Logistics           803 S. Ben St.        PO Box 400          Parkston, SD 57366
10483470   SAM COUNTISS                RR 2, BOX 24          WAURIKA, OK 73573
10483471   SEALY AND SON                700 HIGHWAY 80 E             UNIONTOWN, AL 36786
10483472   SHELTON &MONTGOMERY                       P.O. BOX 389          WAURIKA, OK 73573
10483473   SIDNEY HOSTETLER                 3962 CO RD 3171            HARTMAN, AR 72840
10483474   SKIPPER DAVIS               111 MALARD            FULTON, AR 71838
10483475   SOLM, INC.           P.O. BOX 939           APACHE, OK 73006
10483476   SONNY STOLL               RT 1         CHATTANOOGA, OK 73528
10483479   STEPHEN DILKS                ROUTE 2, BOX 25            RANDLETT, OK 73562
10483480   STEVE FLETCHER                 ROUTE 3, BOX 122            WALTERS, OK 73572
10483520   SUPREME CATTLE FEEDERS                     19016 ROAD I           KISMET, KS 67859
10484205   Sabrina Stapp         1609 Cedar Grove           Greensburg, KY 42743
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                                                                  20
10484206   Sadro Transport, LLC            4009 Section Line Rd           Bad Axe, MI 48413
10484207   Salem Livestock Auction             P.O. Box 1252          Salem, MO 65560
10484208   Sam Fousek          First National Bank           106 RR SW            Wagner, SD 57380
10484209   Sand Mountain Stockyard             P.O. Box 25          Albertville, AL 35950
10483277   Sandy Glass Trucking            90 Circle Rd         Glasgow, KY 42141
10484210   Sandy Glass Trucking            Sandy Glass          90 Circle Road         Glasgow, KY 42141
10484211   Schuchmann Transport             4560 S. Campbell Suite T           Springfield, MO 65810
10484212   Sconyers &Son Cattle, Inc            P.O. Box 87         106 S Commerce St            Geneva, AL 36340
10484213   Scott Broughton          577 Lanarkshire Place           Lexington, KY 40509
10484214   Scott Browning          3730 Edmonton Road              Glasgow, KY 42141−9511
10483278   Scott Christopher Cowles            2363 Otter Gap Rd.          Bowling Green, KY 42101
10484215   Scott Cowles          2363 Otter Gap Rd            Bowling Green, KY 42101
10484216   Scott Ledbetter Trucking LLC             P.O. Box 373          Bruce, MS 38915
10484218   Scott Thompson           38 Daniels Rd           Adel, GA 31621
10484219   Scotts Hill Stockyard          PO Box 1796           Savannah, TN 38372
10483279   Scotts Hill Stockyard          PO Box 1796           c/o James Linville         Savannah, TN 38372
10484220   Second Chance Livestock             Dispatch, Inc         P O Box 88         Pekin, IN 47165
10484221   Seibert Cattle Co.         Farm Credit of Phoenix           1136 East Campbell Ave.          Phoenix, AZ 85014
10483280   Seibert Cattle Co., LLC           1136 E. Campbell Ave.           Phoenix, AZ 85014
10484222   Seymour Feedyards            P. O. Box 609          Seymour, TX 76380
10483281   Sharon Barnes          143 Hodge St           Charlestown, IN 47111
10484223   Shawn Hamilton            Rt 1, Box 3980          Dora, MO 65637
10484224   Sheila Magner          704 Hwy 337 SE             Corydon, IN 47112
10483282   Sheree Baumgart           2755 Hwy 62 NE             Corydon, IN 47112
10484226   Siegel Land And Livestock Trucking LLC                2726 Pottersford Dr.         Florence, MO 65329
10484227   Smeal Transfer, Inc.          PO Box 85           Snyder, NE 68664
10484228   Smith Brothers, Inc.          Pat Smith         Box 68         Stark, KS 66775
10484229   Somerville Livestock Sales            P.O. Box 382          Somerville, TN 38068
10484230   South Central Rural Telephone            P.O. Box 159           Glasgow, KY 42142
10483283   Southeast Livestock Exchange, LLC               PO Box 1306           c/o John Queen        Waynesville, NC 28721
10484231   Southeast Truck Dispatch            P.O. 282         West Point, MS 39773
10483284   Southern Star Stockyard, Inc           d/b/a Pulaski Livestock          PO Box 1216         Pulaski, TN 38478
10484232   Southern Transport LLC             309 Connie Drive           Elk City, OK 73644
10483285   Southern Transport LLC             309 Connie Rd          c/o Greg Wood          Elk City, OK 73644
10484233   Southland Haulers LLC             Howard Compton             P.O. Box 142         Brantley, AL 36009
10483286   Southland Haulers, LLC             PO Box 142          Brantely, AL 36009
10484234   Spencer Thompson             121 Beauchamp St           Edmonton, KY 42129
10483287   Spencer Thompson             301 Beauchamp St.           Edmonton, KY 42129
10484235   Staples        Dept. Det          P.O. Box 83689          Chicago, IL 60690−3689
10484236   Star Kan Inc         P.O. Box 130           Edna, KS 67342
10483288   Stephen A. Oelze           2753 Hwy 2779            Hardinsburg, KY 40143
10484237   Stephen Oelze          2753 Hwy 2779             Hardinsburg, KY 40143
10484238   Steve Caldwell          Box 391          Stanford, KY 40484
10483289   Steve Callis        1934 Burnt House Rd             Lebanon, TN 37090
10484239   Steve Graves Trucking LLC              625 Ferguson Road           Wheatland, WY 82201
10483291   Steve McDonald            8000 Shenandoah Ln            Lanesville, IN 47136
10483292   Steve Ray Taylor           1010 Old Buck CK Rd.             Adolphus, KY 42120
10484240   Steve Taylor         589 New Mt Geliad Ch Rd              Scottsville, KY 42164
10484241   Steve Terry         P.O. Box 448           Red Cloud, NE 68970
10484242   Steven Hendershot Inc.           Rt. 2, Box 67         Laporte City, IA 50651
10447304   Steven R Taylor          1010 Old Buck Creek Rd              Adolphus, KY 42120
10483293   Steven Terry         PO Box 448            Red Cloud, NE 68970
10484243   Stitches Farm         551 West Rd            Red Boiling Spr, TN 37150
10483294   Stitches Farms         PO Box 70           Gamaliel, KY 42140
10484244   Stoddard Trucking           4350 Stoddaed Ln           Dillon, MT 59725
10484245   Stokes Baird         1448 South Jackson Hwy             Hardyville, KY 42746
10483295   Stokes Baird         PO Box 218           Munfordsville, KY 42765
10451049   Stokes Baird         PO Box 218           Munfordville KY 42765
10483296   Sumter Co. Farmers Market, Inc.             524 N. Market Blvd.           Webster, FL 33597
10484247   Sumter County Farmers Market              P.O. Box 62          Webster, FL 33597
10484248   Superior Livestock Auction, Inc            1155 North Colorado           Box 38        Brush, CO 80723
10483297   Superior Livestock Auction, Inc.            PO Box 38          Brush, CO 80723
10483298   Susan Abbott          6028 Concord Ave             Crestwood, KY 40014
10483299   Susan Garrett         831 Glasgow Rd.            Edmonton, KY 42129
10484249   Susan Ramey Livestock             5664 Elizaville Road          Ewing, KY 41039
10484250   Syracuse Commission Co., Inc.             P.O. Box 129          Syracuse, KS 67878
10484251   T R Smith Livestock           921 West Choctaw Street            Lindsay, OK 73052
10484252   TTFarm          21873 Co Rd 64            Greeley, CO 80631
10483300   T. Harold Martin          6204 Charlestown Pike            Charlestown, IN 47111
10483482   TERRY BABER               1062 SCHMOKER RD.                 BURKBURNETT, TX 76354
10483483   TERRY COURTNEY                  ROUTE 3            CARNEGIE, OK 73015
10483484   TIM MAY            544 BIRMINGHAM RIDGE RD                     SALTILLO, MS 38866
10483485   TIM MCCARY               23929 CR EW 180             CHATTANOOGA, OK 73528
10483486   TIM RILEY            5146 Crater Rd.           Hamptonville, NC 27020−7707
10484279   TNCI         P.O. Box 9678            Manchester, NH 03108−9678
10483321   TNCI         PO Box 981038             Boston, MA 02298
10483487   TOM FELLHAUER                 217 RANGER              HEREFORD, TX 79045
10483488   TOM FREEMAN                 BOX 596           FOLLETT, TX 79034
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10483489   TOM SVOBODA               3065 AA AVE            HERINGTON, KS 67449
10483490   TOMMY J. BEACH               P.O. 97        ELMER, OK 73539
10483491   TORRINGTON LIVESTOCK                   P.O. BOX 1097            TORRINGTON, WY 82240
10484294   TSI, Inc       Tulsa Stockyards          913 N 161 East Ave          Tulsa, OK 74116
10483492   TURNER COUNTY STOCKYARDS                       1315 U.S. HWY 41 SOUTH                ASHBURN, GA 31714
10483301   Tadlock Stockyard, Inc.          PO Box 42         Forest, MS 39074
10483302   Tate Myatt       2163 POplar Spring Rd.            Glasgow, KY 42141
10484253   Tate Ranch        First Ag Credit         6510 West Lake Rd           Abilene, TX 79601
10484254   Taylor Reed        Home National Bank, Winfield, KS              P.O. Box 695         Pawhuska, OK 74652
10484255   Teena Morris         1907 McDonald Ln #2             New Albany, IN 47150
10450276   Televent DTN, Inc          9110 W. Dodge Road           Omaha, NE 68114
10484256   Telvent Dtn        P.O. Box 3546          Omaha, NE 68103−0546
10484257   Tennessee Livestock Producers           P.O. Box 313          Columbia, TN 38402−0313
10483303   Tennessee Livestock Producers, Inc.          d/b/a Somerville Livestock Sales          PO Box 382       Sommerville,
           TN 38068
10483304   Tennessee Livestock Producers, Inc. (Col           PO Box 313          Columbia, TN 33802
10483305   Tennessee Livestock Producers, Inc. (Fay           PO Box 42          Fayetteville, TN 37334
10484258   Tennessee Valley Livestock           P.O. Box 189         Waynesboro, TN 38485
10484259   Terry Courtney         Washita Valley Bank           Route 3        Carnegie, OK 73015
10483306   Terry Joe Patton        1224 New Concord Rd.            Columbia, KY 42728
10483307   Terry L. Williams         1525 Mt. Pisgah Rd.          Glasgow, KY 42141
10484260   Terry Mann         1048 East Main St.          Louisville, KY 40206
10484261   Terry Patton        1224 New Concord Rd             Columbia, KY 42728
10483308   Terry Phillips       560 Monterey Hwy.            Livingston, TN 38570
10484262   Terry Phillips       JTFarms          560 Monterrey Hwy            Livingston, TN 38570
10484263   Terry Williams         1525 Mt Pisgah Rd           Glasgow, KY 42141
10484264   The Animal Hospital          P.O. Box 6         Campbellsville, KY 42719
10483310   Thomas County Stockyards, Inc            PO Box 2565          Thomasville, GA 31799
10483311   Thomas Gibson          7536 Tandy Rd           Lanesville, IN 47136
10484265   Thomas Glover          PO Box 5664          Pine Bluff, AR 71611
10483312   Thomas J. Logsdon           PO Box 235          Brownsville, KY 42210
10483313   Thomas J. Svoboda           3065 AA Ave.          Herington, KS 67449
10484266   Thomas P Gibson           7536 Tandy Rd.          Lanesville, IN 47136
10484267   Thomas P Gibson/GST             135 West Market Street          New Albany, IN 47150
10483314   Thomas Rodgers Glover            4400 Temple Rd.          Pine Bluff, AR 71611
10484268   Thomas S Gibson           4906 Prall Hill Road         Henryville, IN 47126
10483309   Thomas and Patsy Gibson            7536 Tandy Road          Lanesville, IN 47136
10484269   Thompson Bros           1448 South Jackson Hwy           Hardyville, KY 42746
10483315   Thompson Brothers           1448 S. Jackson Hwy.          Hardyville, KY 42746
10484270   Thompson Hine, LLP            41 South High Street         17th Floor        Columbus, OH 43215
10484271   Thoreson Enterprises         P.O. Box 334          Eldorado Spring, MO 64744
10483316   Thoreson Ranch          PO Box 334          c/o Tate Thoreson          El Dorado Springs, MO 64744
10484272   Tim Jones        P O Box 33           Hardyville, KY 42746
10484273   Tim McCary          Bancfirst Of Chattanooga,OK            23929 CR EW 180            Chattanooga, OK 73528
10484274   Tim Moore         13486 W Farm Road 132              Bois D Arc, MO 65612
10484275   Tim Napier        4173 Peters Creek Rd           Austin, KY 42123
10484276   Tim Nichols         850 Centerville Rd         Mantachie, MS 38855
10483317   Tim Vibbert        444 Jack Brown Rd            Glasgow, KY 42141
10484277   Timmy Blackistore           PO Box 286         Columbia, KY 42728
10484278   Timmy Slinker         1967 Columbia Rd            Edmonton, KY 42129
10483318   Timothy Blackistone          PO Box 286          Columbia, KY 42728
10483319   Timothy Clay Slinker          1967 Columbia Rd.          Edmonton, KY 42129
10483323   Todd Lynn         195 Joe Lynn Rd.          Celing, TN 38551
10483324   Todd Newport          5802 Meshack Rd.           Tompkinsville, KY 42167
10394176   Tom M Caneff          Thomson West            610 Opperman Drive, D6− 11−3710              Eagan, MN 55123
10484281   Tom Talley Trucking          Rt.1, Box 1         Tyrone, OK 73951
10484282   Tommy Logsdon            757 St Johns Church Rd          Sunfish, KY 42210
10484283   Tommy Parker          P.O. Box 18          Marlin, TX 76661−0018
10484284   Tony F. Setzer        Farm Credit Of Western Ok, PCA              Route 1, Box 39         Colony, OK 73021
10484285   Torque Transport LLC           10083 S. Queens Ferry Drive           South Jordan, UT 84095
10483325   Torque Transportation          10083 Queens Ferry Dr           South Jordan, UT 84095
10484286   Townsend Livestock Market            P.O. Box 577          Madison, FL 32341
10484287   Trainor Business Forms &Printing           2720 River Road           Des Plaines, IL 60018−4106
10484288   Travis Dicke        Dicke Feedyard          16963 415 St          Creston, NE 68631
10484289   Travis Seals       P.O. Box 935          Dunlap, TN 37327
10484290   Tri County E.M.C.          P.O. Box 40         Lafayette, TN 37083
10483326   Tri County Electric         PO Box 40         Lafayette, TN 37083
10484291   Tri−County Farms           4688 N Farm Rd 1           Ash Grove, MO 65604
10483327   Tri−County Livestock Exchange            PO Box 122           Smithfield, KY 40068
10484292   Tri−County Veterinary Services           P.O. Box 727         Tompkinsville, KY 42167
10484293   Truman Slatten         3435 Southeast 726 Rd           Collins, MO 64738
10484295   Tupper Livestock Co.          Box 20        Kimball, SD 57355
10483328   Tupper Livestock Co.          PO Box 20          c/o Wayne Tupper          Kimball, SD 57355
10483329   Turner County Stockyard           1315 US Hwy 41 S           Ashburn, GA 31714
10484296   Twenty Four Trading          P.O. Box 1530           Canutillo, TX 79835
10483330   Tyler McCombs           133 Scottsborough Circle          Bowling Green, KY 42103
10484297   Union Ganadera          P.O. Box 1345          100 Frontera Blvd          Santa Teresa, NM 88008
10483331   Union Stock Yards Co., Inc.          7510 State Rt 138 E         PO Box 129          Hillsboro, OH 45133
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10484298   Union Stockyards          P.O. Box 129          Hillsboro, OH 45133
10484299   United Parcel Service         Lockbox 577          Carol Stream, IL 60132−0577
10483332   United Producers, Inc.        8351 N. High St. Ste 250           Columbus, OH 43235
10484300   United Producers, Inc.        8351 North High Street           Suite 250        Columbus, OH 43235
10484301   United States Postal Service         Cmrs−tms          PO Box 0527          Carol Stream, IL 60132−0527
10484302   Upper Cumberland Shopper             2685 Lake Valley Dr           Cookeville, TN 38506
10483333   Valley Stockyard         206 Pine Ave. SW            Decatur, AL 35601
10484303   Valley Stockyard, Inc.        206 Pine Ave. S.W.           Decatur, AL 35601
10484304   Vanderbrink Trucking          Ed Vanderbrink           319 Main         Alvord, IA 51230
10484305   Vaughn Kennemer            Rt.2, Box 4315         Elk City, OK 73644
10483334   Vectren Energy         PO Box 6248           Indianapolis, IN 46206−6248
10483335   Vectren Energy Delivery           PO Box 6248          Indianapolis, IN 46206−6248
10483341   Verizon        PO Box 9058           Br 02 − Marion         Dublin, OH 43017
10483340   Verizon        PO Box 9058           Br 34 − Robert Brown           Dublin, OH 43017
10483338   Verizon        PO Box 9058           Dublin, OH 43017
10483339   Verizon        PO Box 9058           East−West Trucking            Dublin, OH 43017
10483337   Verizon        PO Box 920041            Br − Lexington         Dallas, TX 75392
10483336   Verizon        PO Box 920041            Dallas, TX 75392
10483342   Verizon        PO Box 920041            Dallas, TX 75392−0041
10484306   Verizon Wireless         PO Box 660108           Dallas, TX 75266−0108
10484307   Vernon Verhoeff         709 West Broadway             Custer City, OK 73639
10483344   Veteran Denver Capps           330 Frogue Road           Burkesville, KY 42717
10483345   Vickie Weidman          1325 Cemetery Rd NE             New Salisbury, IN 47161
10483346   W.C. Bush        16660 N. 2320 Rd.            Snyder, OK 73566
10484308   W.L. McClure          5199 Smiths Grove Rd            Scottsville, KY 42164
10484309   W.R. Odle        491 Goodluck Beaumont Rd               Edmonton, KY 42129
10483521   WEBORG FEEDING CO.,LLC                   1737 V ROAD            PENDER, NE 68047
10483494   WEINHEIMER RANCH                  P.O. BOX 327           STONEWALL, TX 78671               WHITWORTH CATTLE
           CO
10483522   WHEELER BROS. GRAIN CO.                   P.O. BOX 29          WATONGA, OK 73772
10483495   WILLIAM BUSH              RT. 2, BOX 42          SNYDER, OK 73566
10483496   WINTER VIDEO AUCTION                   11802 W GARRIOTT               ENID, OK 73703
10483347   Waddie Hills        3377 FM 1226 N.            Anson, TX 79501
10483348   Wade Breeding          9440 Columbia Hwy.             Greensburg, KY 42743
10484311   Waechter Hay &Grain, Inc.           P.O. Box 2123          Emporia, KS 66801
10484312   Walco International         Central Accounting Center           P O Box 911423         Dallas, TX 75391−1423
10484313   Walter Henry         764 CR 131           Okolona, MS 38860
10484314   Wayne Firkins         298 Judd Road           Edmonton, KY 42129−9000
10484315   Wayne Smith          1531 Cedar Flat Curtis Rd           Edmonton, KY 42129
10483349   Wayne Tibbits         214 Sandwood Dr.           Glasgow, KY 42141
10484316   Wayne Tibbits         227 Cedar St          Glasgow, KY 42141
10484317   Weber Livestock         Angela M Weber             55156 Hwy 59          Wausa, NE 68786
10483350   Wendy Cassell Chapman             1371 Frisbie Lane         Cookeville, TN 38501
10484318   Wendy Chapman            1116 Sheraton Dr           Cookeville, TN 38501
10484319   Wesley Kinslow          2371 Dripping Springs Rd           Glasgow, KY 42141
10484320   Wesley Lacy         2194 W Fork Rd            Bakerton, KY 42711
10484321   West Coast Livestock Express           P.O. Box 1691          Sterling, CO 80751
10484322   West Group Payment Center             P O Box 6292         Carol Stream, IL 60197−6292
10483351   West Kentucky Livestock Market             1781 US Hwy 60 E            Marion, KY 42064
10483352   West Plains Co.        d/b/a CT Livestock           4800 Main St. Suite 274         Kansas City, MO 64112
10484323   West Plains dba CT Livestock           14210 Hillsdale Circle         Omaha, NE 68137
10483353   Westley Kinslow          2371 Dripping Springs Road            Glasgow, KY 42141
10483354   Wetstone Creek         442 Sunfish School Rd.           Brownsville, KY 42210
10483355   Willard R. Odle        491 Goodluck Beaumont Rd.              Edmonton, KY 42129
10483356   William A. Milby          6869 Greensburg Rd.           Buffalo, KY 42716
10484324   William Bush         Agpreference Credit Assoc. PCA             Rt. 2, Box 42        Snyder, OK 73566
10483357   William Eugene Dedigo            8313 Randal Ph−Summer Shade Rd.              Summer Shade, KY 42166
10483358   William Fred Birdwell          1543 Tommy Dodson Hwy.               Cookeville, TN 38506
10484325   William Kruizenga          2823 Edmonton Rd            Columbia, KY 42728
10483359   William McClure          5199 Smith Grove Rd.            Scottsville, KY 42164
10483360   William Rex Elmore           1817 Tobacco Rd.           Glasgow, KY 42141
10483361   William White         99 White Rd.          Summer Shade, KY 42166
10484326   Williams Cattle Co.         P.O. Box 447         London, KY 407430447
10484327   Williams Farms         893 CR 128           Town Creek, AL 35672
10484328   Willie Downs Livestock Inc.           1300 Richie Lane         Bardstown, KY 40004
10484329   Willie Downs Livestock, Inc           4840 New Haven Road             Bardstown, KY 40004
10484330   Wilson Trailer Sales Of Kansas           P.O. Box 297         Dodge City, KS 67801
10484331   Wimberly Lawson Seale Wright &Daves, PLLC                 PO Box 2231          Knoxville, TN 37901−2231
10484332   Window Unit          Airport Mail Facility         4440 Crittenden Dr         Louisville, KY 40221−9998
10483362   Windstream         1720 Galleria Blvd          Br 15 Lexington          Charlotte, NC 28270
10484333   Windstream         PO Box 9001908             Louisville, KY 40290−1908
10484334   Winner Livestock Auction           Box 611          Winner, SD 57580
10483363   Winona Stockyard           PO Box 429          Winona, MS 38967
10484335   Winona Stockyard−custodial            c/o Bank of Winona           PO Box 231         Winona, MS 38967
10462216   Wischmeier Trucking, Inc.          P.O. Box 244          Brownstown, IN 47220
10484337   Witcher Livestock         First Interstate Bank        HC 46, Box 7621           Miles City, MT 59301
10484338   Wm E. Henderson           5763 Hodgenville Rd            Summersville, KY 42782
10484339   Wyatt Trucking, Inc         1791 Co Rd 472           Kinston, AL 36453
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                                                           20
10484340   Wyoming Livestock Board      c/o Craig Jones, Brand Inspect     Box 146   Elk Mountain, WY
           82324
10483523   XIT FEEDERS         2690 US HWY 54        DALHART, TX 79022
10484341   Yankton Livestock Auction    P.O. Box 774         Yankton, SD 57078
                                                                                                   TOTAL: 1373
